       Case 3:25-cv-00330-OAW                       Document 10              Filed 03/07/25             Page 1 of 75




                                      UNITED STATES DISTRICT COURT
                                         DISTRICT OF CONNECTICUT



COMMERCIAL FUNDING LLC

                               PLAINTIFF                                          CIVIL ACTION NO.:

V.                                                                                3:25-CV-00330 (OAW)

STEPHEN McCULLOUGH

                               DEFENDANT
                                                                                  MARCH 7, 2025

                  EMERGENCY MOTION TO REMAND AND SUPPORTING BRIEF

          Pursuant to Local Civil Rule (LRCP) 7(a) (6) and 28 U.S.C.

§1447, Plaintiff Commercial Funding, LLC ("Commercial Funding")

moves to remand this action to the Connecticut Courts. This

motion should be treated as a brief pursuant to LRCP 7(a) (1) in

case this court believes this matter involves disputed issues of

law.

          This is one of many cases prose Defendant Stephen

McCullough ("McCullough") has brought in state 1 and federal

court 2 to contest the validity of the Town of Rocky Hill's tax



1McCullough v. Rocky Hill, HHB-CV23-5033551-S, McCullough
application to return excess proceeds HHB-CV24-5035376-S, Rocky
Hill v. McCullough HHB-CV24-6084243-S, McCullough v. Rocky Hill,
AC-47717, Commercial Funding v. McCullough, AC-48502 and
Commercial Funding v. McCullough, AC-48503 and Commercial
Funding v. McCullough, SC-240179.

2 Town of Rocky Hill v. McCullough 3:24-cv-01284-KAD, Mccullough
v. Town of Rocky Hill 3:23-cv-01367-KAD and Town of Rocky Hill
v. McCullough 3:24-cv-01284-JAM.
                                                             - 1 -
G:\2351 Constitution Real Estate, LLC\0 14 Commercial Funding, LLC V. Sam Walker Mccullough Jr And Stephen Campbell Mccullough\2nd
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       Case 3:25-cv-00330-OAW                        Document 10              Filed 03/07/25             Page 2 of 75




deed (which is how Plaintiff gets its title to the premises 3).

This is a summary process case where Plaintiff has a judgment of

possession against Defendant McCullough. He removed the post-

judgment summary process action pending in the Superior Court

Housing Session, Commercial Funding/ LLC v. Stephen McCullough/

et al., Docket No. HFH-CV24-6030117-S, and the appeal brought

from that judgment in the Appellate Court, Commercial Funding/

LLC v. Stephen McCullough/ et al., Docket No. AC 48503.

          Both matters must be remanded because Defendant

McCullough's petition to remove is untimely and this Court lacks

subject matter jurisdiction over the case(s).

          This Court should also expedite review for remand because

Defendant removed the cases solely to stall the pending state

court litigation. The case should be immediately remanded

pursuant to LRCP 83.7.



                                                        BACKGROUND

          Plaintiff Commercial Funding, LLC commenced a summary

process action in the Superior Court of Connecticut, Hartford

Housing Session, against Defendant McCullough with a writ of

summons and complaint dated June 5, 2024. See Exhibit 1. On




3   140 Hayes Road, Rocky Hill, Connecticut.

                                                             - 2 -
G:\2351 Constitution Real Estate, LLC\0 14 Commercial Funding, LLC V. Sam Walker Mccullough Jr And Stephen Campbell Mccullough\2nd
Summary Process HFH 24 6030117\Removal\Emergency Motion For Remand.Draft.005.Docx
       Case 3:25-cv-00330-OAW                       Document 10               Filed 03/07/25             Page 3 of 75




October 30, 2024, Plaintiff filed a two-count Revised and

Restated Complaint, which is now the operative complaint. See

Exhibit 2. Neither the .original complaint nor the operative

complaint contain claims under federal law.

           On January 27, 2025, Plaintiff filed a Motion for Judgment

of Default for Failure to Plead and Possession (Exhibit 3),

which the Connecticut Superior Court granted on January 30, 2025

 (Exhibit 4).

          On February 13, 2025, 4 Defendant McCullough filed an

Application to the Connecticut Supreme Court for an

interlocutory appeal of the Housing Court's judgment in favor of

Plaintiff pursuant to Connecticut General Statutes §52-265a.

Chief Justice Raheem L. Mullins denied the application on

February 20, 2025 without explanation (Exhibit 5).

          On February 14, 2025, 5 Defendant McCullough filed a Motion

for Waiver of Appellate Fees, and on February 24, 2025, 6 he filed

his Notice of Appeal with the Connecticut Appellate Court

challenging several orders and the Housing Session's judgment.

          On March 3, 2025, Defendant McCullough moved pursuant to 28

U.S.C. §1441 for removal of the Housing Session case and "the



4   Some 14 days after judgment had entered.

5   Some 15 days after judgment had entered.

6   Some 25 days after judgment had entered.

                                                              - 3 -
G:\2351 Constitution Real Estate, LLC\0 14 Co1mnercial Funding, LLC V. Sam Walker Mccullough Jr And Stephen Campbell Mccullough\2nd
Smmnary Process HFH 246030117\Removal\Emergency Motion For Remand.Draft.005.Docx
       Case 3:25-cv-00330-OAW                       Document 10               Filed 03/07/25            Page 4 of 75




corresponding appellate docket" by "invok[ing]" federal question

jurisdiction under 28 U.S.C. §1331, alleging, "A federal

question exists arising under Art III, [ ]Sect[ ]2 Clause 1 of

the U.S. Cons ti tut ion relating to the 5 th ,                                        14 th ,    4 th amendments."

Plaintiff now moves for this case to be remanded to the

Connecticut courts.



                                                          ARGUMENT

     I.        Remand Is Appropriate Because the Removal Notice Is A
               Defective, Untimely Filing.

          A "notice of removal of a civil action or proceeding shall

be filed within 30 days after the receipt by the defendant,

through service or otherwise, of a copy of the initial pleading

setting forth the claim for relief upon which such action or

proceeding is based." 28 U.S.C. §1446(b) (1) . "A motion to remand

the case on the basis of any defect other than lack of subject

matter jurisdiction must be made within 30 days after the filing

of the notice of removal under section 1446(a) ." 28 U.S.C.

§1447 (c).

          Here, Defendant filed his removal petition on March 3,

2025, which is not within 30 days after he received a copy of

Plaintiff's initial Complaint, which was served in hand on June

7, 2024. 7 See Exhibit 6-return of service. His motion for removal



7   269 days elapsed between June 7, 2024 and March 3, 2025.
                                                             - 4 -
G:\2351 Constitution Real Estate, LLC\0 14 Commercial Funding, LLC V. Sam Walker Mccullough Jr And Stephen Campbell Mccullough\2nd
Summary Process HFH 24 6030117\Removal\Emergency Motion For Remand.Draft.005.Docx
       Case 3:25-cv-00330-OAW                        Document 10              Filed 03/07/25             Page 5 of 75




is also not within 30 days after he received Plaintiff's Revised

and Restated Complaint, which was mailed to him on October 30,

2024. 8         In his November 14, 2024 Motion to Strike, he specially

referred to the Revised and Restated Complaint so Defendant

McCullough had actual receipt by that date. See Exhib it 7.

          Therefore, this Court should remand the case back to the

Connecticut courts because Defendant's removal petition is late.



     II.       Remand Is Appropriate Because the Court Lacks Subject
               Matter Jurisdiction.

          "[A]ny civil action brought in a State court of which the

district courts of the United States have original jurisdiction,

may be removed by the defendant or the defendants, to the

district court of the United States for the district ... embracing

the place where such action is pending." 28 U.S.C. §1441(a). "A

state-court action may be removed to federal court only if the

district court has original jurisdiction." U.S. Bank Nat'l Ass'n

v. Epps, No. 3:25-CV-00046 (SFR), 2025 WL 68135, at *2 (D. Conn.

Jan. 12, 2025. Subject matter jurisdiction "may be raised by a

party, or by the court on its own initiative, at any stage in

the litigation." Arbaugh v. Y&H Corp., 546 U.S. 500, 506 (2006)




8   124 days elapsed between October 30, 2024 and March 3, 2025.

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G:\2351 Constitution Real Estate, LLC\0 14 Co1mnercial Funding, LLC V. Sam Walker Mccullough Jr And Stephen Campbell Mccullough\2nd
Summaiy Process HFH 24 6030117\Removal\Emergency Motion For Remand.Draft.005.Docx
       Case 3:25-cv-00330-OAW                       Document 10               Filed 03/07/25            Page 6 of 75




           The Supreme Court has "long held that the presence or

absence of federal-question jurisdiction is governed by the

well-pleaded complaint rule, which provides that federal

jurisdiction exists only when a federal question is presented on

the face of Plaintiff's properly pleaded complaint." Rivet v.

Regions Bank of La., 522 U.S. 470,                                      475 (1998).

          "If at any time before final judgment it appears that the

district court lacks subject matter jurisdiction, the case shall

be remanded." 28 U.S.C. §1447(c). "An order remanding the case

may require payment of just costs and any actual expenses,

including attorney fees,                           incurred as a result of the removal. A

certified copy of the order of remand shall be mailed by the

clerk to the clerk of the State court." Id.

          In Epps, Linda Booker removed proceedings from state-level

proceedings to federal court, arguing the Connecticut Superior

Court "violated her due process rights with its issuance of the

Order of Execution of Ejectment." See Epps, 2025 WL 68135, at

*l. By its own motion, the federal court held "Ms. Booker cannot

remove on the basis of federal-question jurisdiction[ because]

         [the] plaintiff's                     complaint alleges only state-law grounds

for eviction, so federal-question jurisdiction does not exist."

Id. at *2. The court additionally held that diversity was not a

basis for removal because Ms. Booker was a Connecticut citizen.

See id. Thus, she could not "invoke diversity of citizenship to

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G:\2351 Constitution Real Estate, LLC\0 14 Commercial Funding, LLC V. Sam Walker Mccullough Jr And Stephen Campbell Mccullough\2nd
Summaiy Process HFH 24 6030117\Removal\Emergency Motion For Remand.Draft.005.Docx
       Case 3:25-cv-00330-OAW                       Document 10              Filed 03/07/25             Page 7 of 75




remove to a federal court in her home state." Id and 28 U.S.C.

§1441 (B) (2). 9

          Here, Plaintiff Commercial Funding's complaint makes t wo

claims for judgment of immediate possession of the premises

based solely upon Connecticut General Statutes §47a-23. Both of

those claims arise from Plaintiff's tax deed. At the same time,

neither of Plaintiff's claims "arise under" any federal law,

which means that there is no federal question jurisdiction based

upon the operative complaint. Additionally, Defendant

McCullough, like Ms. Booker, is a Connecticut citizen, which

means he cannot remove from state court to federal court based

on diversity jurisdiction.

          While Plaintiff's complaint arises solely under Connecticut

law, Defendant McCullough has claimed since at least November 7,

2024 10 there are constitutional issues at play here (Motion to

transfer attached as Exhibit 8).                                     What constitutional issues

Defendant McCullough raises is immaterial because jurisdiction

must be based upon the operative complaint. "[T]he fact that a

defendant may raise federal law defenses or counterclaims does



9 "A civil action otherwise removable solely on the basis of the
jurisdiction under section 1332(a) of this title may not be
removed if any of the parties in interest properly joined and
served as defendants is a citizen 0£ the State in which such
action is brought." [emphasis added]

10   Some 116 days before the petition to remove was filed.

                                                             - 7 -
G:\2351 Constitution Real Estate, LLC\0 14 Commercial Funding, LLC V. Sam Walker Mccullough Jr And Stephen Campbell Mccullough\2nd
Sumrnmy Process HFH 24603011 7\Removal\Emergency Motion For Remand.Draft.005.Docx
       Case 3:25-cv-00330-OAW                        Document 10              Filed 03/07/25             Page 8 of 75




not allow the defendant to remove the case to a federal court",

See Reale v. Providence & Worcester R.R. Co., 2024 WL 1327203,

at * 7 (D. Conn. 2024)

          Therefore, this Court lacks subject matter jurisdiction

because Plaintiff's complaint is not based upon federal law.

The removal statute will not allow a Connecticut domiciled

defendant to remove a matter from Connecticut state court.



     III. This Court Should Expedite Review For Remand Because
          Plaintiff Is Seeking To Stall His Pending State
          Litigation.

          "A party may request expedited consideration by the Court

of a motion by designation the motion as one seeking 'emergency'

relief and demonstrating good cause in the motion." LRCP

7 (a) (6).

     In his related action with The Town of Rocky Hill, Defendant

McCullough made it clear he was "not giving up on this until the

day [he dies]." See Exhibit 9, page 8, lines 21-22. "This"

referred to the property Town of Rocky Hill sold to Plaintiff

Commercial Funding, LLC by a tax deed.

          Since Defendant McCullough removed this underlying case to

federal court, the state litigation is now stayed without the

necessity of him posting an appellate bond under Connecticut

General Statutes §47a-35a, responding to the appellate motion to

dismiss or responding to the trial court motion to terminate the

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G:\2351 Constitution Real Estate, LLC\014 Co1mnercial Funding, LLC V. Sam Walker Mccullough Jr And Stephen Campbell Mccullough\2nd
Summa1y Process HFH 24 6030117\Removal\Emergency Motion For Remand.Draft.005. Docx
       Case 3:25-cv-00330-OAW                       Document 10               Filed 03/07/25            Page 9 of 75




appellate stay. Defendant McCullough only seeks to frustrate and

prolong the inevitability of being evicted from the property he

used to own, which now belongs to Plaintiff.

          Defendant McCullough cannot avoid the consequences of

failing to pay his taxes and then abuse the legal system holding

him accountable for that failure. Defendant McCullough is using

the court system to injure Plaintiff when he will be unable to

compensate Plaintiff for the use and occupancy damages he is

causing.

          Therefore, this Court should expedite review of this case

and promptly remand it to the Connecticut courts.



                                                        CONCLUSION

          For the foregoing reasons, Plaintiff Commercial Funding,

LLC, moves for this matter to be promptly and immediately

remanded.




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                                     l'_Q.RD- &- P:A1JI£ KAS, LL P
                            --------- 280 Trumbull Street - Suite 2200
                                      Hartford, CT 06103
                                      Direct: (860) 808-4213
                                      Mobile: (860) 543-4372
                                      Fax: (860) 249-7500
                                      Email: PTL@HPLowry.com
                                      Federal Bar# CT05955


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G:\2351 Constitution Real Estate, LLC\0 14 Commercial Funding, LLC V. Sam Walker Mccullough Jr And Stephen Campbell Mccullough\2nd
Summary Process HFH 24 6030117\Removal\Emergency Motion For Remand.Draft.005.Docx
      Case 3:25-cv-00330-OAW                       Document 10              Filed 03/07/25             Page 10 of 75




                                            CERTIFICATE OF SERVICE

     I hereby certify that a copy of the foregoing was delivered
on this 7 th day of March, 2025 to:

Stephen Campbell McCullough
140 Hayes Road
Rocky Hill CT 06067
ALSO VIA EMAIL - steviemccl@yahoo.com




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G:\2351 Constitution Real Estate, LLC\0 14 Commercial Funding, LLC V. Sam Walker Mccullough Jr And Stephen Campbell Mccullough\2nd
Summary Process HFH 24 6030117\Removal\Emergency Motion For Remand.Draft.005.Docx
Case 3:25-cv-00330-OAW   Document 10   Filed 03/07/25   Page 11 of 75




       EXHIBIT I
                 Case 3:25-cv-00330-OAW                                Document 10                   Filed 03/07/25              Page 12 of 75


SUMMONS                                                                    STATE OF CONNECTICUT                                         NOTICE TO OCCUPANT(SJ NOT
SUMMARY PROCESS (EVICTION)                                                    SUPERIOR COURT                                               NAMED ON THE SUMMONS
JO-HM-32 Rev . 4-1 9                                                                                                               If you claim to !lave a righl to continue to
C.G.S. § 51-348; P.8 . § 8-1
                                                                                w1vw.jucl.ct.gov
                                                                                                                                   occupy Lile premises you shOtlld complete
Instructions:                                                                                                                      and file with tile clerk's office a Claim of
1. Type orprint legibly. if yo11 ,ire ,i self-represented party. this form must be signed by a clerk of the court.                 Exemption (Corm JD-Hl\1-3) .:is soon as
2.. If U1ere ,s more than one defend,int, make ,i copy of the summons for each additional defend,in/. Each copy of the             poss11,1e. You can get tile Claim of
    smnmons must show who signed the summons and when if was sig11ed. A/so, if there are more than two plaintiffs or               Exemption from 1t1e clerk .:it 111e address
    lour defendtmls, comple te the Civil Summons Continuation of Pt111ies (fom1 JD-CV-2) and atlach itto the origin.ii and         listed below or online at v..-ww.jud.ct.gov.
    all copies of the complaint.
3.. Attach the summons to the complaint. and attach a copy of the summons to each copy of the complaint.
4. After service has bee11 made by a proper officer. Me the original papers and the officer's 1clum with the clerk of court.                For information on ADA
For more information 011 Sammary Process (Eviction) Cases and to find the coirec/ court locatio11 to file //us case.
                                                                                                                                       .iccommodations, contact .i court
see Rights and Responsibilities of Landlords and Tenants in Co1111ectic11/ (loon JDP-HM-31)                                           clerk or go to www.jud.ct.gov/ADA.
or vis.it j11d.ct.gov/faqlll111cllord.hlml.
TO: Any prgper officer; by authority of the State of Connecticut, you are hereby
    commanded to make due and legal service of this summons and attached complaint.
                                                                                                                          IReturn Date    (Mom11. day, yeo rJ (An, aay bu1 sunrtays
                                                                                                                           andlega/ho!idaysJ 06/17/2024

tl Judicial Distnct            At (Town)                                                                                                C:ise Type /FrrJ11>Juc1~m1e, ar,:11 code Ml/
[J Housing Session             Hartford
Address of courl /Number. sr:eet, tow11 a11d zip code)
                                                                                                                                       I   Major        H_          Minor
                                                                                                                                                  Te!epnone number of cle11<.
                                                                                                                                                                                   00

80 Washington Street, Hartford, CT 06106
                                                                                                                                                I860-756-7920
Number or plaintiffs:
                          '
                                  1         INumber of defendants:          3          I D Form JD-CV-2 attached for additional parties
    P.irties              N.ime (Last, First, Middle Initial) and .sddress of each party (Number; Street: P.O. Box; Town; State; Zip; country, it not USA)
     First           Nanie:       Commercial Funding, LLC                                                                                                                             P-01
    plaintiff        Address: Reckmeyer & Reckmeyer, LLC; P,O_ Box: 271376, West Hartford, CT 06127
   Addition:il       Name:                                                                                                                                                           P-02
    pl.1intiff       A<lctress:
     First           Name:        McCullough, Stephen Campbell                                                                                                                       0-01
   defend.int        Ade1ress: 140 Hayes Road, Rocky HIii, CT 06067
  Additional         Name:        Doe,John                                                                                                                                           D-02
  defendant          Address: 140 Haves Road        Rockv Hill CT 06067
  Addition:il        N,11ne:      Doe,Jane                                                                                                                                           0-03
  defendant         Ad dress: 140 Hayes Road, Rocky Hill, CT 06067
  Additional         Name:                                                                                                                                                           0 -04
  defend.int         Add1ess:

Notice to each defendant
1. You are being sued for possession of the premises you occupy                               6. You crn1 get the Appeamnce (fonn JD-CL-12) al 1he court address
2. This paper is a summons in a summary process (eviction) action.                                 above or online at 1vww.jud.ct.9ov.
3. The complaint attached to these papers states the grounds for                              7. Each court location con give you an infom1ationa1pamphlet
   eviction claimed by the plaintiff.                                                              (JDP-HM-·15) explaining the summmy process (eviction) action
                                                                                                   and an Answer (form JO-HM-5) so that you may file an answer to
4. To respond to this summons, or to be notified of further                                        the plaintiffs claims. You can also get the pamphlet and Answer
   proceedings, you or your altomey must file a fom1 called an                                     form online at mi,wjucl.cl.gov.
   Appearance (form JD-CL-12 )with the clerk otthe above court
   address on or before the second doy after the above Return Dale.                           8. If you have questions about the summons and complaint. you
                                                                                                   should talk o an attorney promptly. The clerk of court is not
5. If you or your atlomey do not file a timely written Appe,                                 _-i'!l!O\o''eu to give advice on legal questions; however, in Housing
   a judgment may enter against you by default. If                                                 Session locotions only, the clerk con give procedural assistance to
   plaintiff will have the right to evict you from   pr                                            all self-represented parties.
                                                                                          [gJ commissioner ot Superior Court Name of person signing
06/05/2024                                                                                0                            Clerk W. Herbert Reckmeyer



                                                                                                                       Telepllcne number           Juris Numl)er (II ,;rromey or t.:Jw f;rm)
                                      r, LLC; P.O. Box: 271376, West Hartford, CT 06127                                860-333-5677                 442160
The attorney or la fir n appearing for lhe plaintitt·. or the plaintiff if sel!"-represented, agrees to accept                        Signature of Pla int,ff (i f Seif-represented)
papers (servic electronicnlly in this case under Section 10-13 of the Connecticut Practice SooK.                  ~ Yes D No
E-mail address tor Clelivef'/ of papers unaer Sec1Ion 10·13 or me Connecticut Pracuce Book {if agreed to)                                           For Courr Use Only
herb.reckmeyer@rrlawllc.com                                                                                                           Receipt                                 ONo Fee
 If this summons is signed by a clerk:                                                                                                File Onte

 a . The signing has been done so that the plaintiH(s) will not be denied nccess to the courts.
 b. It is the responsibility of the plaintiff(s) to see that seNice is made in the manner provided by law_
 c. The clerk is not permitted to give any legal advice in connection with any lawsuit.
 d. The clerk signing this summons at the request of the pfaintiff(s) is not responsible in any way for
     any errors or omissions in the summons. any allegations contained in the complaint, or the
     service of the summons and complaint.
I certify I have read ond      Signed (Seit-represented plaiflliff)                         Date signed                              Ooc~et Number
understand the above:
  Case 3:25-cv-00330-OAW                Document 10         Filed 03/07/25        Page 13 of 75




RETURN DATE: June 17, 2024                         SUPERIOR COURT/HOUSING SESSION

COMMERCIAL FUNDING, LLC                            JUDICIAL DISTRICT OF HARTFORD

V.                                                 AT HARTFORD

STEPHEN CAMPBELL
MCCULLOUGH, ET AL                                : June 5, 2024

                                            COMPLAINT

COUNT ONE: (As to Stephen Campbell McCullough)

     1. On October 20, 2023 at 2:27: 11 pm, Plaintiff took title to certain premises located at 140
        Hayes Road, Rocky Hill, CT 06067 ("Premises") by way of a Tax Deed. A copy of said Tax
        Deed is attached hereto.

     2. Defendant occupies the Premises.

     3. Defendant once had the right or privilege to occupy the Premises as he was an owner of
        said Premises when the Town of Rocky Hill conducted a public sale on April 20, 2023 of its
        tax lien placed on the Premises, but such right or privilege terminated when he was not the
        successful bidder at said Town's sale of the tax lien. Plaintiff was the successful bidder at
        said public sale.

     4. At midnight of October 19, 2024, the redemption period for the tax sale expired without
        Defendant redeeming. On October 20, 2024@ 2:27: 11 pm, the Town of Rocky Hill
        recorded the Tax Deed. A copy of said Tax Deed is attached hereto.

     5. On May 28, 2024, Plaintiff caused a notice to quit possession to be served on Defendant to
        vacate the Premises on or before June 3, 2024. A copy of said notice is attached hereto.

     6. Although the time given in the notice to quit possession of the Premises has passed, the
        Defendants continue in possession of the Premises.

   I hereby certify that I have personal knowledge of the Plaintiffs Financial Responsibility and
deem it sufficient to pay the costs of this action.

          WHEREFORE, the Plaintiff claims a judgment for immediate possession of the Premises.

COUNT TWO: (As to Stephen Campbell McCullough)

     1.      On October 20, 2023 at 2:27: 11 pm, Plaintiff took title to certain premises located at 140
             Hayes Road, Rocky Hill, CT 06067 ("Premises") by way of a Tax Deed. A copy of said
             Tax Deed is attached hereto.
  Case 3:25-cv-00330-OAW             Document 10          Filed 03/07/25       Page 14 of 75




   2.      Defendant once had the right or privilege to occupy the Premises as he was an owner of
           said Premises when the Town of Rocky Hill conducted a public sale on April 20, 2023 of
           its tax lien placed on the Premises, but such right or privilege terminated when he was not
           the successful bidder at said Town's sale of the tax lien. Plaintiff was the successful
           bidder at said public sale.

   3.     At midnight of October 19, 2024, the redemption period for the tax sale expired without
          Defendant redeeming. On October 20, 2024@ 2:27: 11 pm, the Town of Rocky Hill
          recorded the Tax Deed. A copy of said Tax Deed is attached hereto.

   4.     Defendant remained in possession of the Premises after October 20, 2024@ 2:27: 11 pm
          without Plaintiffs consent.

   5.     Defendant never had the right or privilege to occupy the Premises after the recording of
          the Tax Deed on October 20, 2024 @ 2:27:11 pm.

   6.     On May 28, 2024, Plaintiff made a notice to quit possession to be served on Defendant to
          vacate the Premises on or before June 3, 2024. A copy of said notice is attached hereto.

   7.     Although the time given in the notice to quit possession of the Premises has passed, the
          Defendants continue in possession of the Premises.

   8.     I hereby certify that I have personal knowledge of the Plaintiffs Financial Responsibility
          and deem it sufficient to pay the costs of this action.
   WHEREFORE, the Plaintiff claims a judgment for immediate possession of the Premises
COUNT THREE: (As to John Doe and Jane Doe)

   I. Paragraph One of Count One is hereby incorporated as Paragraph One of this Count.

   2. At an unknown time, Defendants took possession of the Premises and still occupy the
      Premises.

   3. Defendants never had the right or privilege to occupy the Premises.
 Case 3:25-cv-00330-OAW               Document 10          Filed 03/07/25        Page 15 of 75




   4-5 Paragraphs Five and Six of Count One are hereby incorporated as Paragraphs Four and Five
       of this Count.

        I hereby certify that I have personal knowledge of the Plaintiffs Financial Responsibility and
deem it sufficient to pay the costs of this action.

       WHEREFORE, the Plaintiff claims a judgment for immediate possession of th




                                                                        rt Reckmeyer, Esq.
                                                                 e    eyer & Reckmeyer, Law
                                                                 . . Box 271376
                                                               West Hartford, CT 06127
 Case 3:25-cv-00330-OAW                Document 10          Filed 03/07/25        Page 16 of 75




                               RECKMEYER & RECKMEYER
                                                           LAW



Stephen Campbell McCullough
John Doe & Jane Doe
140 Hayes Road, Rocky Hill, CT 06067

RE:    NOTICE TO QUIT POSSESSION (C.G.S. §47A-23)

         Commercial Funding LLC hereby gives you notice that you are to quit possession of the
premises now occupied by you at 140 Hayes Road, Rocky Hill, CT 06067 on or before June 3, 2024
for the following reason:

       As to Stephen Campbell McCullough, you once had the right or privilege to occupy 140
Hayes Road, Rocky Hill, CT 06067, however, such right or privilege has terminated.

       As to Stephen Campbell McCullough, you never had the right or privilege to occupy 140
Hayes Road, Rocky Hill, CT 06067.

       As to John Doe & Jane Doe - You never had the right or privilege to occupy 140 Hayes
Road, Rocky Hill, CT 06067.

       Any payments tendered after the service of this Notice will be accepted for use and
occupancy only and not for rent, with full reservation of rights to continue with the eviction action.

       If you do not voluntarily vacate the premises on or before the above-termination date, it is
Commercial Funding LLC's intention to commence eviction proceedings against you to recover
possession of the premises. If such an eviction proceeding is commenced, you will receive notice and
be given an opportunity to present a defense.

       Attached you will find the Right to Counsel Notice in English and Spanish.

        Dated at West Hartford, Connecticut, May 24, 2024.




             P.O. Box: 271376, WEST HARTFORD, CT 061271 (860)333-5677 Ex. 3
             Case 3:25-cv-00330-OAW                   Document 10           Filed 03/07/25             Page 17 of 75




                                                                                     The State of Connecticut created a
                               You are facing the                                    Right to Counsel program (CT-RTC)
                               loss of your home                                     to provide free legal representation
                                                                                     to income eligible tenants facing
                               or housing subsidy.                                   eviction or loss of housing subsidy.
                                                                                     The program began in a few communities on
                               We are here to help.                                  January 31, 2022 and will srow over time.




ONLINE LEGAL HELP Go             2-1-1 HELPLINE                      GUIDE AND FORM FILLER                EVICTION PREVENTION FUND
to ctlawhelp.org/eviction to     Call 211 for information and        Go to cteviction.guide to learn      Check your eligibility for UniteCT's
learn about the eviction         referrals for housing, utility,     about the eviction process           Eviction Prevention Fund by visiting
process and how to respond       and food assistance or go to        and prepare court forms for          unitectprescreen.formstackcom/
to eviction notices.             211ct.org.                          your case.                           forms/evlction__prevention




                                                                                    El estado de Connecticut ha creado
                               Usted esta en riesgo                                 el programa "Derecho a un Abogado"
                               de perder su hogar                                   {CT-RTC, par sus siglas en ingles) con el
                                                                                    fin de brindar representaci6n jurfdica
                               o su subsidio de                                     gratuita a inquilinos de bajos ingresos
                               vivienda. Estamos                                    que corran riesgo de desalojo o perdida
                                                                                    del subsidio de vivienda.
                               aqui para ayudarle.                                  El program a comenz6 el 31 de enero de 2022 en un numero




ASISTENCIALEGAL                   LrNEADEASISTENCIA2-1-1                GUrA PARA COMPLETAR                   FONDO PREVENTIVO
POR INTERNET                      Para informaci6n y                    FORMULARIOS                           DE DESALOJOS
Visite ctlawhelp.org/eviction     derivaciones a programas              Visite ctevictionguide para           Paraverificar si reune les
para obtener informaci6n sobre    deasistencia con el alquiler,         obtener informaci6n sabre el          requisites para recibir asistencia
el procesodedesalojoyc6mo         servicios publicos y alimentos,       proceso de desalojo y c6mo            del Fende Preventive de
responder a una notificaci6n      flame al 211 or visite 211ctorg.      completar los formularios             Desalojes de UniteCT, visite
de desalojo.                                                            judicial es.                          unitectprescreenJormstack.com/
                                                                                                              forms/evlct!on_prevention

                 CT-RTC is administered by the Connecticut Bar Foundation, 31 Pratt Street, Hartford, CT 06103
                                                     www.ctbarfdn.org
Case 3:25-cv-00330-OAW   Document 10   Filed 03/07/25   Page 18 of 75




       EXHIBIT 2
  Case 3:25-cv-00330-OAW                         Document 10               Filed 03/07/25              Page 19 of 75




 DOCKET# HSG-HFH-CV24-6030117-S                                                   SUPERIOR COURT

 COMMERCIAL FUNDING, LLC                                                          HARTFORD HOUSING SESSION

v.

STEPHEN CAMPBELL MCCULLOUGH                                                       OCTOBER 30, 2024

                                     REVISED AND RESTATED COMPLAINT

COUNT ONE:              (As to Stephen Campbell McCullough)

           1.        On October 20, 2023 at 2:27:11 pm, Plaintiff took

title to certain premises located at 140 Hayes Road, ~ocky Hill,

CT 06067 (~Premises") by way of a Tax Deed.

          2.        A true and correct copy of the Tax Deed is attached as

Exhibit 1.

          3.         Defendant occupies the Premises.

          4.         Defendant once had the right or privilege to occupy

the Premises as he was an owner of said Premises when the Town

of Rocky Hill conducted a public sale on April 20, 2023 of its

tax lien placed on the Premises, but such right or privilege

terminated when he was not the successful bidder at said Town's

sale of the tax lien.

          5.        Plaintiff was the successful bidder at the said public

sale.




                                                             - 1 -
G:12351 Constitution Real Estate, LLC\014 Commercial Funding, LLC v. Sam Walker McCullough Jr and Stephen Campbell McCullough\2nd
summary process case HFH 24 6030117\Commercial Funding v. McCullough revised and restated complaint.doc
 Case 3:25-cv-00330-OAW                          Document 10                Filed 03/07/25              Page 20 of 75




           6.          At midnight of October 19, 2023, the redemption period

 for the tax sale expired without Defendant redeeming.

           7.          On October 20, 2023 at 2:27:11 pm, the Town of Rocky

Hill recorded the Tax Deed.

           8.          A true and correct copy of the Tax Deed is attached as

Exhibit          i'.
           9.          On May 24, 2024, Plaintiff caused a notice to quit

possession to be served on Defendant to vacate the Premises on

or before June 3, 2024.

          10.          A true and correct copy of the notice to quit is

attached as Exhibit 2.

          11.          Although the time give in the notice to quit

possession of the Premises has passed, the Defendant continues

in possession of the Premises.



COUNT TWO:              (As to Stephen Campbell McCullough)

          1.           On October 20, 2023 at 2:27:11 pm, Plaintiff took

title to certain premises located at 140 Hayes Road, Rocky Hill,

CT 06067 ("Prernisesn) by way of a Tax Deed.

          2.           A true and correct copy of the Tax Deed is ~ttached as

Exhibit 1.


                                                              - 2 -
G:\2351 Constitution Rea.I Estate, LLC\O 14 Commercial Funding, LLC v. Sam Walker McCullough Jr and Stephen Campbell McCullough\2nd
summary process case HFH 24 6030117\Commercial Funding v. McCullough revised and restated complaint.doc
  Case 3:25-cv-00330-OAW                         Document 10                Filed 03/07/25             Page 21 of 75




           3.        Defendant once had the right or privilege to occupy

 the Premises as he was an owner of said Premises when the Town

of Rocky Hill conducted a public sale on April 20, 2023 of its

tax lien placed on the Premises, but such right or privilege

terminated when he was not the successful bidder at said Town's

sale of the tax lien.

           4.          Plaintiff was the successful bidder at said public

sale.

          5.        At midnight of October 19, 2023, the redemption period

for the tax sale expired without Defendant redeeming.

           6.       On October 20, 2023 at 2:27:11 pm, the Town of Rocky

Hill recorded the Tax Deed.

          7.        A true and correct copy of the Tax Deed is attached as

Exhibit 1.

          8.         Defendant remained in possession of the Premises after

October 20, 2023 at 2:27:11 pm without Plaintiff's consent.

          9.         Defendant never had the right or privilege to occupy

the Premises after the recording of the Tax Deed on October 20,

2023 at 2:27:11 pm.




                                                             - 3 -
G:\2351 Constin1tion Real Estate, LLC\0.14 Commercial Funding, LLC v. Sam Walker McCullough Jr and Stephen Campbell McCulloughl2nd
summary process case HFH 24 6030117\Commercial Funding v. McCullough revised and restated complaint.doc
                               \
 Case 3:25-cv-00330-OAW                          Document 10               Filed 03/07/25              Page 22 of 75




           10.       On May 24, 2024, Plaintiff made a notice to quit

possession to be served on Defendant to vacate the Premises on

or before June 3, 2024.

          11.       A true and correct copy of the notice to quit is

attached as Exhibit 2.

          12.       Although the time give in the notice to quit

possession of the Premises has passed, the Defendant continues

in possession of the Premises.




                                                             - 4 -
G:\2351 Constitution Real Estate, LLC\O 14 Commercial Funding, LLC v, Sam Walker McCullough Jr and Stephen Campbell McCullough\2nd
summary process case HFH 246030117\Comrncrcial Funding v. McCullough revised and restated complaint.doc
  Case 3:25-cv-00330-OAW                          Document 10               Filed 03/07/25              Page 23 of 75




           WHEREFORE, Plaintiff claims a judgment for immediate

 possession of the premises.

                                                         COMMERCIAL FUNDING, LLC
                                                         PLAINTIFF




                                              --- - -·                             I

                                                     280 Trumbull S reet - Suite 2200
                                                     Hartford, CT 06103
                                                     Direct: (860) 808-4213
                                                     Fax: (860) 249-7500
                                                     Email: PTL@HPLowry.com
                                                     Juris# 100342


                                            CERTIFICATE OF SERVICE

     I hereby certify that a copy of the foregoing was mailed on
this 30 t h day of October, 2024 to:

Stephen Campbell McCullough
140 Hayes Road
Rocky Hill CT 06067




                                                             - 5 -
G:\2351 Constitution Real Estate, LLC\O 14 Commercial Funding, LLC v. Sam Walker McCullough Jr and Stephen Campbell McCullough\2nd
smnmai:y process case HFH 24 6030117\Commercial Funding v. McCullough revised and restated complaint.doc
Case 3:25-cv-00330-OAW   Document 10   Filed 03/07/25   Page 24 of 75




         EXHIBIT 1
Case 3:25-cv-00330-OAW                Document 10                     Filed 03/07/25                     Page 25 of 75




                                      Ill f1111111111111'11 I.I nlllltlll ~I   :E~~
                                     B~; 754 Pg:.6,89          li")st~ #: 1.7-78




           KNOW ALL IyIEN BY THESE PRESENTS, that, whereas the Town of Rocky HiJl ~iq
   on the 1st day .o f October of 2008, 2009, 2010, 2011,.2012? 20l3,2014,,. 2MS, 2016, 2017, 2018,
   2019, 2020, .and 2021 lay taxes on its grang lists next to be perfecteq, r.ate.bills for which and·for
   a personal ta.x jn all' te§pec.ts mad!! out accordin~ to law with a warrant thereto :attached, was
   placed in my hands, I being the duly appointed and qualified collector· thereof, for collection,
   which tax bee.rune due on the 1st ·day of each following July; and, whereas Sam Walker
   McCullough,. Jr. and Stephen Camp9ell McCullough of 140 Hayes,'Ro·ad, Rocky Hill, CT 06067,
   upon dem~d made, ..neglected and re~ed to pay the tax set opposite their names in said rate
   bi.lls; and thereupon, 011 the 2nd day- of February_, 2023, I levied upon the parcel of rea.1 estate
   her.eina'fier de~cribed fb'r the amot:iritofsaid tax, to wit: $27,657.26':~d. accrued interestand.gav.e
   due notice thereof to s,aid taxpayers and to The Metropolitan .Pistrict EIS by law provided, which
   real estate so levied upon is known as 140 Hayes Road in Rocky Hill, ·Connecticut and situated
   and bounded as described at Volume 535 Page 988 of the Rocky Hill land reco.rds, whiGh
   description 1s incorporated h~rein; and on the 20 th day of AprU, 2023, no one having previously
   tendered me said fax with.interest and my fees,. in pursuance of said levy, and.in at:c.ordance with
  the tenns of said notice, I sold at public auction the ,vho]e of said real estate of the said taxpayers
   to Commercial Funding LLC of Q1 South Main Street, pt Floor, Walli~gfottl, CT 06492 for the
   sum of$150,000.00.
          NOW, THEREFORE, in cbnsideration of the premises, and of said sum of money,
  rec.eived to my full satisfaction, of said purchaser, I hereby bargain and sell unto it the premises
   last above described, with the ap-prirtenances, to have and to hol'd the ~.arne to it and its heirs
  forever, subject only· to faxes laid by such muniqipa)ity which were not yet due and payable
  when I first-p~blished notice of:levy atid sale and any other liens in favor of the To1.vn of Rocky
  Hill, easements, cov¢nants and restrictions in favor of other parcels of land, interests exempt
   from l~vy .and ·sale lJnd.er the Constitution and laws of the United States· and st19h other interest,s,
  if any, hereinafter•described, to wit: all interests ·identified as "s.uryiving ·encumbrances'' in the

                                                             -1-
                                                                                Convey~nce T.lX'l?lamp   Stale: so:oo·
                                                                                                         town:$0:00
                                                                               ~~-~-
                                                                                                  Roolfy Hill Town Clerk
Case 3:25-cv-00330-OAW                     Document 10                   Filed 03/07/25                      Page 26 of 75




    auctiqn notice :for, this pr~perty filed a.tVolume 747 Page 444 oftbes¢. l~nd recor~s, Ai1d also? I,
    the ·said .collector, .acting in the name of a_nd for .the Town of Rocky 'Hill, do by .these presents
    bind the Town -of ·Rocky Hill; forever, to warr~nt.and defend the above :granted and bargained
    pre.mises to ·the s(lid grantee, its he1rs and assignsi against all claims apd deman_ds arisiµg ·fron:i
    any necessary a¢t omitted or unlawful act done by·me .in connection "".ith ~e aforesaid levy or
    saie which impairs the same,
             IN WITNESS WHEREOF, I have hereunto set niy h;and and seal ,thi~-9-fh day of
   April, 2.023.

   Sigoed, seal~d and delivered
   in the pre.senc •                                                                                    .·     .
                                                                              ,
                                                                                  •       . • ..               .   ·.
                                                                                                   '•
                                                                             .:::     ,

                                                                                                               -----==~....-- - -
   witne                                                                     Elaine McKim
                                                                             Tax: Collector as aforesaid
   w!~~ih'(5
   STATE OF:CONNECTICUT
                                                             ss:
   COUNTY OF HARTFORD




                                                                                             KRIS'l'I
                                                                                                        N()
                                                                                              MyCommlsalon




                              RECEJVED FOR 'RECORD AT
                              ROCKY HILL, CT
                              1Q/2.0l2023 02:27: 11 PM
                             /)~~~
                                                         Town CJerk




                                                                   -2-



  • ACTIVE:/77032.3/AJCil Jcii4932vl
Case 3:25-cv-00330-OAW   Document 10   Filed 03/07/25   Page 27 of 75




         EXHIBIT 2
Case 3:25-cv-00330-OAW                Document 10            Filed 03/07/25         Page 28 of 75




                                 RECKMEYER & RECKMEYER
                                                             LAW



 Stephen Campbell McCullough
 John Doe & Jane Doe
 140 Hayes Road, Rocky Hill, CT 06067

 RE:     NOTICE TO QUIT POSSESSION (C.G.S. §47A-23)

          Commercial Funding LLC hereby gives you notice that you are to quit possession of the
 premises now occupied by you at 140 Hayes Road, Rocky Hill, CT 06067 on or before June 3, 2024
 for the following reason:

        As to Stephen Campbell McCullough, you once had the right or privilege to occupy 140
 Hayes Road, Rocky Hill, CT 06067, however, such right or privilege has terminated.

        As to Stephen Campbell McCullough, you never had the right or privilege to occupy 140
 Hayes Road, Rocky Hill, CT 06067.

        As to John Doe & Jane Doe - You never had the right or privilege to occupy 140 Hayes
 Road, Rocky Hill, CT 06067.

        Any payments tendered after the service of this Notice will be accepted for use and
 occupancy only and not for rent, with full reservation of rights to continue with the eviction action.

         If you do not voluntarily vacate the premises on or before the above-tennination date, it is
 Commercial Funding LLC's intention to commence eviction proceedings against you to recover
 possession of the premises. If such an eviction proceeding is commenced, you will receive notice and
 be given an opportunity to present a defense.

         Attached you will find the Right to Counsel Notice in English and Spanish.

         Dated at West Hartford, Connecticut, May 24, 2024.




              P.O. Box: 271376, WEST HARTFORD, CT 061271 (860)333-5677 Ex. 3
         Case 3:25-cv-00330-OAW                    Document 10              Filed 03/07/25             Page 29 of 75




                                                                                     The State of Connecticut created a
                               You are facing the                                    Right to Counsel program {CT-RTC)
                               loss of your home                                     to provide free legal representation
                                                                                     to income eligible tenants facing
                               or housing subsidy.                                   eviction or loss of housing subsidy.

                               We are here to help.                                  The prosram began in a few communities on
                                                                                     January 31, 2022 and will srowover time.




ONLINE LEGAL HELP Go             2-1-1 HELPLINE                      GUIDE AND FORM FILLER                EVICTION PREVENTION FUND
to ctlawhelp.org/evictlon to     Call 211 for information and .      Go to ctevlction.gulde to learn      Check your eligibilityfor UniteCT's
learn about the eviction         referrals for housing, utility,     about the eviction process           Eviction Prevention Fund by visiting
process and how to respond       and food assistance or go to        and prepare court forms for          unltectpresaeen.formstackcom/
to eviction notices.             211ct.org.                          your case.                           forms/evlctlon_prevention




                                                                                    El estado de Connecticut ha creado
                               Usted esta en riesgo                                 el programa "Derecho a un Abogado"
                               de perder su hogar                                   (CT-RTC, por sus siglas en ingles) con el
                                                                                    fin de brindar representaci6n jurfdica
                               o su subsidio de                                     gratuita a inquilinos de bajos ingresos
                               vivienda. Estamos                                    que corran riesgo de desalojo o perdida
                                                                                    del subsidio de vivienda.
                               aqui para ayudarle.                                  El prosrama camenz6 el 31 de enero de 2022 en un numero
                                                                                    limitodo de comunidades y ccnUnuard expCJ'ldiendose.




ASISTENCIA LEGAL                  L(NEADEASISTENCIA2-1-1               GUfA PARACOMPLETAR                     FONDO PREVENTIVO
POR INTERNET                      Para informaci6n y                   FORMULARIOS                            DE DESALOJOS
Visite ctlawhelp.org/eviction     derivaciones a programas             Visite ctevictlonguide para           Para verificar sire-One los
para obtener informaci6n sobre    deasistencia con el alquiler,        obtener informacion sobre el          requisitos para recibir asistencia
el proceso dedesalojoycomo        servicios pub Ii cos yalimentos,     procesodedesalojoy c6mo               del Fando Preventivo de
responder a una notiflcaci6n      llame al 211 or visite 211ctorg.     completarlos formularios              Desalojos de UniteCT. visite
de clesalojo.                                                          judicial es.                          unltectpresaeenJ«mstack.com/
                                                                                                             forms/evictfon_preventlon

                CT-RTC is administered by the Connecticut Bar Foundation, 31 Pratt Street, Hartford, CT 06103
                                                    www.ctbarfdn.org
Case 3:25-cv-00330-OAW   Document 10   Filed 03/07/25   Page 30 of 75




       EXHIBIT 3
              Case 3:25-cv-00330-OAW                              Document 10                 Filed 03/07/25           Page 31 of 75


 MOTION FOR JUDGMENT FOR                                                                                              STATE OF CONNECTICUT
 POSSESSION FOR FAILURE TO PLEAD                                                                                         SUPERIOR COURT
JD-HM-1 O Rev. 3-20                                                                                                               www.jud.ct.gov
C.G.S. § 47a-26a,
P.B. § 17-30

                                                                                                                                       COURT USE ONLY
                                                                                                                                         MFDPJPS

Instructions to Plaintiff (Landlord)
1. File this motion with the clerk.                                                                                                    llll~l~l~ll l l l il il lillil l
2. Mail or deliver a copy of this motion to all appearing defendants or their attorney(s), if applicable.

O Judicial District                                                                                   Docket number

~ Housmg
1v1        • Session •        At·. Hartford                                                            HSG HFH-CV24-6030117-S
Address of court (Number, street, and town)

 80 Washington Street, Hartford CT 06106
Name of case

    COMMERCIAL FUNDING, LLC v. STEPHEN CAMPBELL MCCULLOUGH


Motion

The defendant(s) listed below has not filed a pleading within the required time period. If the defendant(s) does not
file a pleading within three (3) days after this motion is filed with the clerk, the plaintiff(s) asks that judgment for
possession of the premises be entered for the plaintiff(s).
Name(s) of applicable defendant(s)

STEPHEN CAMPBELL MCC
Signed (Plaintiff/Pl ·ntifFs1fffome                                    Print or type name of person signing                          Date signed
►                                                                           uston Putnam Lowry                                        01/27/2025




I certify that a copy of this el:IR'le~ will immediately be mailed or delivered electronically or non-electronically or in
hand on       01/27/2025     (date) to all attorneys and self-represented parties of record, and that written consent for electronic
delivery was received from all attorneys and self-represented parties receiving electronic delivery.
(If necessary, attach additional sheets with names, addresses and methods of delivery.)
Name and address of first attorney or party                                                                                     D Hand delivered [BJ Mailed
STEPHEN CAMPBELL MCCULLOUGH, 140 HAYES ROAD, ROCKY HILL, CT 06067                                                               [BJ Electronically delivered
Name and address of second attorney or party                                                                                   D Hand delivered D Mailed
steviemcc1@yahoo.com                                                                                                           D Electronically delivered
Name and address of third attorney or party                                                                                    D Hand delivered D Mailed
                                                                                                                               D Electronically delivered
                                                                                                                               D Hand delivered D Mailed


Mailing addres   (tiuo)bB~reet;"town, state and zip code)··
                                                              -        Print or type name of person signing
                                                                         ouston Putnam Lowry
                                                                                                                               D Electronically delivered
                                                                                                                                     Date signed

                                                                                                                                     01/27/2025
                                                                                                                                     Telephone number
Ford & Pautekas( LLP, 280 Trumbull Street-s~ ·te 2200, Hartford, CT 06103                                                            (860) 808-4213




                                                                    ADA NOTICE
                                          The Judicial Branch of the State of Connecticut complies with the
                                          Americans with Disabilities Act (ADA). If_you need a reasonable
                                          accommodation in accordance with the ADA, contact a court clerk
                                          or an ADA contact person listed at www.jud.ct.gov/ADA.
Case 3:25-cv-00330-OAW   Document 10   Filed 03/07/25   Page 32 of 75




       EXHIBIT 4
      Case 3:25-cv-00330-OAW              Document 10      Filed 03/07/25      Page 33 of 75




                                                                                      ORDER 445552
DOCKET NO: HFHCV246030117S                                SUPERIOR COURT

COMMERCIAL FUNDING, LLC                                   HOUSING SESSION
  V                                                        AT HARTFORD
MCCULLOUGH, STEPHEN CAMPBELL Et
Al                                                        1/30/2025



                                                  ORDER


ORDER REGARDING:
01/27/2025 160.00 MOTION FOR JUDGMENT OF DEFAULT FOR FAILURE TO PLEAD AND
POSSESSION SUMMARY PROCESS

The foregoing, having been considered by the Court, is hereby:

ORDER:GRANTED
Disposition: JP2PVTM - JUDGMENT OF POSSESSION - WHERE ONE ORIGINALLY HAD THE
RIGHT OR PRIVILEGE IS NOW TERMINATED

Motion for default for failure to plead is granted.

***** Notice of Judgment - Summary Process (Eviction) *****
Name of Defendant(s)/Tenant(s):STEPHEN CAMPBELL MCCULLOUGH
Date of Judgment: 1/30/25
JUDGMENT FOR PLAINTIFF BASED UPON ORIGINAL RIGHT OR PRIVILEGE TO OCCUPY
HAS TERMINATED

***** Notice to Defendant(s)/Tenant(s) *****

The Plaintiff(Landlord) recovered Judgment against you for immediate possession of the premises
named in the complaint and occupied by you. You are therefore given the following notice:

***** PLEASE READ COMPLETELY THE FOLLOWING INFORMATION *****

You may be evicted from the premises named in the complaint and occupied by you after 5 days from
the ***date of judgment*** shown above. (Any intervening Sunday or legal holiday is not included in
counting the 5 day period.) You may ask the court to delay your eviction up to 6 months from the date of
Judgment by completing and filing at the Clerk's office an Application for Stay of Execution. This
application must be filed within 5 days from the ***date of Judgment*** shown above. The application
form is available at the Clerk's office at the above address.

***** NOTICE TO ALL OCCUPANT(S) NOT NAMED IN JUDGMENT *****

If you have not been named as a party to this summary process action, and you claim to have a right to
continue to occupy the premises, you should promptly complete and file with the Clerk's office a claim
of exemption from the Judgment. The claim of exemption may be obtained from the Clerk at the address
listed above.




HFHCV246030117S         1/30/2025                                                            Page 1 of2
       Case 3:25-cv-00330-OAW                   Document 10            Filed 03/07/25          Page 34 of 75




                                                               445552

                                                               Judge: CRISTINA M LOPEZ
This document may be signed or verified electronically and has the same validity and status as a document with a physical
(pen-to-paper) signature. For more information, see Section I.E. of the State of Connecticut Superior Court £-Services
Procedures and Technical Standards (https://jud.ct.gov/extemal/super/E-Services/e-standards.pdf), section 5 l-l 93c of the
Connecticut General Statutes and Connecticut Practice Book Section 4-4.




HFHCV246030117S             1/30/2025                                                                          Page 2 of 2
Case 3:25-cv-00330-OAW   Document 10   Filed 03/07/25   Page 35 of 75




       EXHIBIT 5
             Case 3:25-cv-00330-OAW            Document 10        Filed 03/07/25       Page 36 of 75

Order On Pre Appeal Application for Certification pursuant to G.S. § 52-265a SC240179
Docket Number: HFHCV246030117S
Issue Date: 2/20/2025
Sent By: Supreme/Appellate



            Order On Pre Appeal Application for Certification pursuant to G.S. § 52-265a SC240179

HFHCV246030117S          COMMERCIAL FUNDING, LLC v. STEPHEN C. MCCULLOUGH

Notice Issued: 2/20/202511:08:13AM

Notice Content:


Motion Filed: 2/14/2025
Motion Filed By: Stephen C Mccullough

Order Date: 02/20/2025

Order: Denied

Today, Chief Justice Raheem L. Mullins denied the defendant's application for certification to appeal pursuant to
Connecticut General Statute§ 52-265a, which was filed on February 14, 2025.

By the Court
Notice sent to Counsel of Record

Hon. Christina Lopez

Clerk, Superior Court, HFHCV246030117S
Case 3:25-cv-00330-OAW   Document 10   Filed 03/07/25   Page 37 of 75




       EXHIBIT 6
Case 3:25-cv-00330-OAW           Document 10         Filed 03/07/25        Page 38 of 75




   STATE OF CONNECTICUT :
                                   SS . WEST HARTFORD            June 7, 2024
   COUNTY OF HARTFORD :

                           THEN and by virtue hereof and by direction of the plaintiff's

   Attorney, I made due and legal service of the within original Writ, Summons and

   Summary Process Complaint with State of Connecticut Notice to Tenant for Eviction

   Right to Counsel Program both in English and Spanish and Notice to Quit and State of

   Connecticut Notice to Tenant for Eviction Right to Counsel Program both in English

   and Spanish by leaving a true and attested copy with and in the ha·nds of the

   within named defendant:

   MCCULLOUGH, STEPHEN CAMPBELL

   At 140 Hayes Road, Rocky Hill, CT.

                                    ALSO on June 7, 2024, I made due and legal service

   of the within original Writ, Summons and Summary Process Complaint with State of

   Connecticut Notice to Tenant for Eviction Right to Counsel Program both in English

   and Spanish and Notice to Quit and State of Connecticut Notice to Tenant for Eviction

   Right to Counsel Program both in English and Spanish by leaving a true and attested

   copy at the usual place of abode of each the within named defendants :

   DOE,JOHN
   DOE,JANE

   At 140 Hayes Road, Rocky Hill, CT.




                                        SCOTT M. KR.AIMER
                                       CONNECTICUT STATE MARSHAL
                      P.O. Box 271621 • Wesl Hartford, CT 06127-1621 • 860-521-1223
                 Case 3:25-cv-00330-OAW                                 Document 10               Filed 03/07/25                     Page 39 of 75

                                                                                                                                       .------------ ----·---
SUMMONS                                                                     STATE OF CONNECTICUT                                              NOTICE TO OCCllPANT(S} NOT
SU_MMARYPROCESS {EVICTION)                                                     SUPERIOR COURT                                                    NAMED ON THE SUMMONS
JO-HM-32 Rev-4-19                                                                                                                        If yo,, claii11 to tiave a riglil to continue to
C.G.S. § 51-348; P.B. § 8-1                                                          wwwJuc/.ct.gov                                      occupy U1e premises y9u shdulcJ complete
lnslructions:                                                                                                                            and file with tnc clerk's ·omce a Claim of
1. Type orprinl legibly. If you ;ire a self-represented pa,ty. this form must he :;igned by a cler_k of.the court.                       Exeiription (form JD-HM·:?.) <.1s soon as
2. If there 1s more than one defencfanl, muke ;i copy ofllle summons for each additional defendant, Each copy of the                     possilile. Y~u c~n get tile Clair11 or
    summons muat show whp sigl1ed /he summons and 1\ihen it was sig11 ed. A/so, if /Mre ;;re more than t,'lo plaintiffs or               Exemptib1i from t11e clerk at the address
    four defendants, complete the Civil Summons Continua lion of P.11/ies "(form JD-CV-2) ,:md ill/a ch ii lo /he original and           !isled below cir onilnc at ww1r.j1id.ci.gov.
    all cQpies of the compl,iin/.
3.. Attach the swnnjons to the coinplaint. and attach .i copy of/he summons to each _    copy <;>f the complain/.
4. After sen,ice has been made by a proper officer, fife the odginiil papers arid Ille officer's ret11m with the clerk of court.                   For information on ADA
For more infomwtion 011 Summmy Process (Eviction) Cases a1Jd to find /he co,rec/ court loc.ilion to file this case.                          .iccommociatlons,. con1;ict a court
see Rights ,wd Responsibilities·of Landlords and Tenants ir1 Co1Ji1ec/ic11/ (fofln JDP-HM-31j                                               clerl< or go to www.jud.ct.gov/ADA.
or vfait jud.ct.gov/faql/Dncllord.h/ml.
TO: Any prgper office~; by authority of the S!ate of C_onnecticut, you are hereby _ j' Return D;ite (Monm. day, yea r) /An;, day but sunrJay.s
    commanded to m~ke due and legal service of this summons and attached comp la mt. anctlegai 1101:daysJ 06/17/2024
El Judicial District            At (Town)                                                                                                     Case _Type (F,e,11 J1.<1,c;n1 t:, ar.<11 ccoe1,s1/
(] Housing Session              Hartford
Address ol court (Numbe.r. sr:eer, lown ;wd zip code)
                                                                                                                                             I MajorTeiepnone
                                                                                                                                                          H_     .Minor
                                                                                                                                                              number vf clerk
                                                                                                                                                                              00

80 Washington Street, Hartford, CT 06106
                                                                                                                                                 I860-75_6-7920
NurnlJer or pl;;iinlitrs:
                            '
                                   1          INumber or defendants:        3         I D Form JD-CV-2 attached for additional parties
     Parties                Name (Lase, First, Middle Initial) and .iddress of e.:ich party (Number_; Street: P.O. Box; Town; State; Zip; Counuy, if nor USA)
      First           N.ime;      Commercial Funding, LLC                                                                                                                                     P-01
     plaintiff        Atldress: Reckmeyer & Reckmeyer, LLC; P.O. Box: 271376, West Hartford, CT 06127
   Additional         Naine:                                                                                                                                                                  P-02
    pl.iintiff        Acldress:                                                                                                                                             ..
     First            N,1me:    McCullough, Stephen Campbell                                                                                                                                  0-01
   defendant          Acldress: 140 Hayes Road, Rocky Hill, CT 06067
   Addition.ii        Nome:        Doe, John                                                                                                                                                  0-02
   defend.int         Address: 140 Haves Road Rockv Hill CT 06067
   Addition:il        N,1me:    Doe, Jane                                                                                                                                                     D-03
   defend.int         A<ldress: 140 Hayes Road, Rocky Hill, CT 06067
   Addition.ii        N~me:                                                                                                                                                                   0•04
   defendant          Address:

Notice to each defendant
1. You are being sued for possession of the premises you occupy_                              6. You cnn get ll1e Appearnnce (form JD-CL-·12) nt ihe comt address
2. This paper is a summons in a summory process (eviction) nction.                               above or online nt ww1'l.juc/.ct.gov.
3. The complaint attached to these papers states the grouncls for                             7. Ench court location con give you nn infomwlional pamphlet
   eviction claimed by 1he pin inti ff.                                                          (JOP-HM-·15) explaining the st1mmnry process (eviction) action
                                                                                                 nnd an Answer (form JD-HM-5) so that you may file an answer lo
4. To respond to this summons. or lo be notified of further                                      the plaintiffs claiins. You can also get the pamphlet and Answer
   proceedings, you or your attorney must file a form called an                                  form online at mw1.jucl.ctgov.
   Appeamnce (form JD-Cl-12) with the clerk at tl1e <1bove court
   address on or before the second day after lhe above Return Date.                           8. If you have questions ab.out the summons and complaint, you
                                                                                                 should talk o. an attorney prompily. The clerk of court is not
5. If you or your attorney do not file a timely written Appe,                                       • e to give aclvice on legal questions; however. in Housing
   a judgment may enter against you by default. If                                               Session locations only, 1he clerk cnn give procedurnl assistance lo
   plaintiff will hove lhe right to evict you from    pr ·                                       all self-represented parties.
                                                                                          ~ Commissioner ot Superior Court         N.ime or person signing
06/05/2024                                                                                0                              c1er11    W, Herbert Reckmeyer


                                                                                                                         Telephone oum!Jer
                                       r, LLC; P.O. Box: 271376, West Hartford, CT 06127                                 860-333-5677                    442160
Tile attorney or la, fir n appe;;iring for !he plaintiff, or Ille plaintiff if self-represented, ~grees to accept                           Sign:iture of Plaintiff (1/ sell-represented)
papers (service eleclronically in this case under Section 10-13 ol the Connecticut Practice 6001<.                    ~ Yes        O No
E•mail address 1or deliver/ al papers under secl!on 10-13 ot me Connecllcut Pr:icuce Book (if agreec to)                                                 For Courr Use Only
herb.reckmeyer@rrlawllc.com                                                                                                                 Receipt                                    0NoFee

 If this summons is signed by a clerk:                                                                                                      File Dtite

 a. The signing has been done so that the plainliff(s) will not be denied nccess to the courts.
 b. It is the responsibility of the plaintiff(s) to see that service is made in the manner provided by lnw_
 c. The clerk is not permitted to give any legal advice in connection with any lawsuit.
 cl . The clerk signing this summons at the request of thfl plaintiff(s) is not responsible in any wny for
      any errors or omissions in the summons, any allegations contained in the complaint. or the
      service of the summons and complaint.
I certify I have rend and              Signed (Self-represented ptaintifO                                   I DJte signed
understand the above :                                                                                       _
Case 3:25-cv-00330-OAW                Document 10          Filed 03/07/25        Page 40 of 75




RETURN DATE: June 17, 2024                         SUPERIOR COURT/HOUSING SESSION

COMMERCIAL FUNDING, LLC                            JUDICIAL DISTRICT OF HARTFORD

V.                                                 AT HARTFORD

STEPHEN CAMPBELL
MCCULLOUGH, ET AL                                : June 5, 2024

                                            COMPLAINT

COUNT ONE: (As to Stephen Campbell McCullough)

     1. On October 20, 2023 at 2:27: 11 pm, Plaintiff took title to ce1iain premises located at 140
        Hayes Road, Rocky Hill, CT 06067 ("Premises") by way of a Tax Deed. A copy of said Tax
        Deed is attached hereto.

     2. Defendant occupies the Premises.

     3. Defendant once had the right or privilege to occupy the Premises as he was an owner of
        said Premises when the Town of Rocky Hill conducted a public sale on April 20, 2023 of its
        tax lien placed on the Premises, but such right or privilege terminated when he was not the
        successful bidder at said Town's sale of the tax lien. Plaintiff was the successful bidder at
        said public sale.

     4. At midnight of October 19, 2024, the redemption period for the tax sale expired without
        Defendant redeeming. On October 20, 2024@ 2:27: 11 pm, the Town of Rocky Hill
        recorded the Tax Deed. A copy of said Tax Deed is attached hereto.

     5. On May 28, 2024, Plaintiff caused a notice to quit possession to be served on Defendant to
        vacate the Premises on or before June 3, 2024. A copy of said notice is attached hereto.

     6. Although the time given in the notice to quit possession of the Premises has passed, the
        Defendants continue in possession of the Premises.

   I hereby certify that I have personal knowledge of the Plaintiff's Financial Responsibility and
deem it sufficient to pay the costs of this action.

          WHEREFORE, the Plaintiff claims a judgment for immediate possession of the Premises.

COUNT TWO: (As to Stephen Campbell McCullough)

     1.      On October 20, 2023 at 2:27: 11 pm, Plaintiff took title to ce1iain premises located at 140
             Hayes Road, Rocky Hill, CT 06067 ("Premises") by way of a Tax Deed. A copy of said
             Tax Deed is attached hereto.
Case 3:25-cv-00330-OAW             Document 10          Filed 03/07/25        Page 41 of 75




   2.      Defendant once had the right or privilege to occupy the Premises as he was an owner of
           said Premises when the Town of Rocky Hill conducted a public sale on April 20, 2023 of
           its tax lien placed on the Premises, but such right or privilege terminated when he was not
           the successful bidder at said Town's sale of the tax lien. Plaintiff was the successful
           bidder at said public sale.

   3.     At midnight of October 19, 2024, the redemption period for the tax sale expired without
          Defendant redeeming. On October 20, 2024@ 2:27: 11 pm, the Town of Rocky Hill
          recorded the Tax Deed. A copy of said Tax Deed is attached hereto.

   4.     Defendant remained in possession of the Premises after October 20, 2024@ 2:27:11 pm
          without Plaintiff's consent.

   5.     Defendant never had the right or privilege to occupy the Premises after the recording of
          the Tax Deed on October 20, 2024@2:27:1 l pm.

   6.     On May 28, 2024, Plaintiff made a notice to quit possession to be served on Defendant to
          vacate the Premises on or before June 3, 2024. A copy of said notice is attached hereto.

   7.     Although the time given in the notice to quit possession of the Premises has passed, the
          Defendants continue in possession of the Premises.

   8.     I hereby certify that I have personal knowledge of the Plaintiffs Financial Responsibility
          and deem it sufficient to pay the costs of this action.

   WHEREFORE, the Plaintiff claims a judgment for immediate possession of the Premises

COUNT THREE: (As to John Doe and Jane Doe)

   1. Paragraph One of Count One is hereby incorporated as Paragraph One of this Count.

   2. At an unknown time, Defendants took possession of the Premises and still occupy the
      Premises.

   3. Defendants never had the right or privilege to occupy the Premises.
Case 3:25-cv-00330-OAW              Document 10          Filed 03/07/25         Page 42 of 75




    4-5 Paragraphs Five arid Six of Count One are hereby incorporated as Paragraphs Four and Five
        of this Count.

        I hereby certify that I have personal knowledge of the Plaintiff's Financial Responsibility and
deem it sufficient to pay the costs of this action.
                                                                                                                --------··
       WHEREFORE, the Plaintiff claims a judgment for immediate possession of th
                                                                                                          ---


                                                                        rt Reckmeyer, Esq.
                                                                 e    eyer & Reckmeyer, Law
                                                                 .. Box 271376
                                                                West Hartford, CT 06127
Case 3:25-cv-00330-OAW               Document 10          Filed 03/07/25         Page 43 of 75




                               RECKMEYER & RECKMEYER
                                                           LAW



Stephen Campbell McCullough
John Doe & Jane Doe
140 Hayes Road, Rocky Hill, CT 06067

RE:     NOTICE TO QUIT POSSESSION (C.G.S. §47A-23)

         Commercial Funding LLC hereby gives you notice that you are to quit possession of the
premises now occupied by you at 140 Hayes Road, Rocky Hill, CT 06067 on or before June 3, 2024
for the following reason:

       As to Stephen Campbell McCullough, you once had the right or privilege to occupy 140
Hayes Road, Rock")' Hill, CT 06067, however, such right or privilege has terminated.

       As to Stephen Campbell McCullough, you never had the right or privilege to occupy 140
Hayes Road, Rocky Hill, CT 06067.

       As to John Doe & Jane Doe - You never had the right or privilege to occupy 140 Hayes
Road, Rocky Hill, CT 06067.

       Any payments tendered after the service of this Notice will be accepted for use and
occupancy only and not for rent, with full reservation of rights to continue with the eviction action.

       If you do not voluntarily vacate the premises on or before the above-termination date, it is
Commercial Funding LLC's intention to commence eviction proceedings against you to recover
possession of the premises. If such an eviction proceeding is commenced, you will receive notice and
be given an opportunity to present a defense.

       Attached you will find the Right to Counsel Notice in English and Spanish.

        Dated at West Hartford, Connecticut, May 24, 2024.




             P.O. Box: 271376, WEST HARTFORD, CT 061271 (860)333-5677 Ex. 3
           Case 3:25-cv-00330-OAW                   Document 10            Filed 03/07/25            Page 44 of 75




                                                                                      The State of Connecticut created a
                               You are facing the                                     Right to Counsel program (CT-RTC)
                               loss of your home                                      to provide free legal representation
                                                                                      to income eligible tenants facing
                               or housing subsidy.                                    eviction or loss of housing subsidy.
                                                                                      The program began in a few communities on
                               We are here to help.                                   January 31, 2022 and will grow over time.




ONLINE LEGAL HELP Go             2-1-1 HELPLINE                       GUIDE AND FORM FILLER                 EVICTION PREVENTION FUND
to ctlawhelp.org/eviction to     Call 211 for information and         Go to cteviction.guide to learn       Check your eligibility for UniteCT's
learn about the eviction         referrals for housing, utility,      about the eviction process            Eviction Prevention Fund by visiting
process and how to respond       and food assistance or go to         and prepare court forms for           unitectprescreen.formstack.com/
to eviction notices.             211ct.org.                           your case.                            forms/eviction_prevention




                                                                                     El estado de Connecticut ha ere ado
                               Usted esta en riesgo                                  el programa "Derecho a un Abogado"
                               de perder su hogar                                    (CT-RTC, por sus siglas en ingles) con el
                                                                                     fin de brindar representaci6n juridica
                               o su subsidio de                                      gratuita a inquilinos de bajos ingresos
                               vivienda. Estamos                                     que corran riesgo de desalojo o perdida
                                                                                     de! subsidio de vivienda.
                               aqui para ayudarle.                                   El prosromo comenz6 el 31 cJe enero de 2022 en un numero




ASISTENCIA LEGAL                  LfNEADE ASlSTENCIA 2-1-1               GUfA PARA COMPLETAR                   FONOO PREVENTIVO
POR INTERNET                      Para informaci6ny                      FORMULARIOS                           DE DESALOJOS
Visite ctlawhelp,org/eviction     derivaciones a programas               Visite cteviction.guide para          Para verificar si reune los
para obtener informaci6n sobre    de asistencia con el alquiler,         obtener informaci6n sobre el          requisitos para recibir asistencia
el procesodedesalojoyc6mo         servicios pub Ii cosy alimentos,       proceso de desalojo y c6mo            del Fondo Preventivo de
responder a una notificaci6n      Ila me al 211 or visite 211ctorg.      completar los formularios             Desalojos de UniteCT, visite
de desalojo.                                                             judicial es.                          unftectprescreen.formstack.com/
                                                                                                               forms/eviction_preventlon

                CT-RTC Is administered by the Connecticut Bar Foundation, 31 Pratt Street, Hartford, CT 06103
                                                    www.ctbarfdn.org
Case 3:25-cv-00330-OAW   Document 10   Filed 03/07/25   Page 45 of 75




       EXHIBIT 7
Case 3:25-cv-00330-OAW          Document 10          Filed 03/07/25            Page 46 of 75




          HFH-CV-XX-XXXXXXX-S                          SUPERIOR COURT/HOUSING SESSION


      COMMERCIAL FUNDING, LLC                                     J.D. OF HARTFORD


                    V.                                                      AT HARTFORD


 MCCULLOUGH, STEPHEN CAMPBELL                                     NOVEMBER 13, 2024




                                      MOTION TO STRIKE


        The defendant hereby moves to strike plaintiffs Revised and Restated Complaint

 (#133.00) in its entirety since both counts lack the legal sufficiency of the allegations to

 state a claim upon which relief can be granted. Both counts rely on legal- conclusions that a

 prior court has deemed erroneous in Hartford Housing DecisiorJ.tl-1777~                                      ~
                                                                          ~      :r.:         ~:          (;:? .,,
                                                                          rrJ J> ~!           -=-      S ;.~
        Count One ,I4 states that" ... but such right or privilege tegrtG,at~wtie}f--fie was not
                                                                      g ;,:, w               ....,.    -- - ,.,
                                                                      ::::-1(./)             .c-       0
 the successful bidder at said Town's sale of the tax lien."          ~ci~
                                                                      ..,:::vv,              1J•.     ~~
                                                                                                       ✓ ni                  •
                                                                      -,O;:::-                        0
                                                                      -         ...,                  c::n           .
        Count Two ,I3 states that" ... but such right or privilegererrffinatM w~he was not
                            •                                     -,                     -            -j:::v             .

                                                                                         N                 ;;:;:
 the succ~ssful bidder at said Town's sale of the tax lien."




 Further, defendant has just now discovered, at the end of the day of 11/13/24, that plaintiff

 has sold the property in question on Auction.com (see attached).




 DATED this 13th day of November, 2024
                                                                                       . ,ep' enc: Mco/l o~gh,
                                                                                                      Defendant

                                                 1
Case 3:25-cv-00330-OAW          Document 10           Filed 03/07/25   Page 47 of 75




                                    ..                .         .
                                   MEMORANDUM OF LAW


         The plaintiff has stated in both counts that "Defendant one had a right or privilege

 to occupy the Premises as he was an owner' .of said Premises ... " (beginning of
                                                                               . Count
                                                                                  .

 1 ,I4, and Count 2 1J3). There is only one statutory section in Summary Process that

 pertains to defendants who once had a right -- §47a-23(a)(3). The other sections do not

 apply: (1) is for rental agreements and leases, (2) is for those who never had a right or
                         '
 privilege, (4) is for ~hose in a landlord/tenant rel_
                                                     ationship, and (5) is for farm employees,

 domestic servants, _caretakers, and managers.


         §47a-23 (a) (3) states: "when one originally had the right or privilege to occupy

 su·ch premises but such right or privilege has terminated;" •


 The only places in the Complaint relating to "termination" are at the ends of Count 1 .114,
  .                                      ,_
 and Count 21'J3. Both state:" ... Stich right or privilege terminated when he was not the

 successful bidder at said Town's sale of the tax lien." Both are fals.e legal conclusions and

 not state1T1ents of fact. Plaintiff, in those same paragraphs, claim this occurred on April 20,

 2023. Such right and privilege could not termina~e on that date, April 20, 2023, because

 that issue has already JJeen adjudicated, published by COLP, deemed untrue, and

 therefore, both claims lack legal sufficiency.


      1) On May 23, 2024 in HFH-CV23-6_
                               •
                                      027467-S, Decision H-1777, Memorandum
                                                                   )
                                                                            of.

        Decision Re: Motion to Dismiss #128 Judge Spader ruled: "When the plaintiff's

        attorney s·igned the notice to quit on October 1 s; 2023, the plaintiff was not an

        'owner or lessor, or the owne".'s or lessor's. legal representative, or the owner's.



                                                  2
Case 3:25-cv-00330-OAW          Document 10          Filed 03/07/25   Page 48 of 75




        or lessor's attorney-at-law, or in-fact_.' If anything, it was the holder of a

        defeasible interest in the property that could have been redeemed." The issues

        raised in that dismissal are contained in defendant's entries 128.00 and 133.00.

        (The issues of valid recording of title and fraudulent transfer of title were not raised in

        that motion to dismiss, because it was based on an invalid notice to quit which was

        all that was necessary.)

    2) Much of the law pertaining to tax sale auctions is contained in §12-157 Method of

        selling real estate for taxes and allows for a redemption period during which time

        owners are allowed to remain on the property and have beneficial ownership; tax

        deeds ~re, by law, to remain unrecorded during this redemption period §12-157(e).

    3) Owners, by law, are not allowed to bid on a municipal tax sale auction.



 Henceforth, this court should strike both Count One and Count Two, which consists of the

 Complaint in .its entirety.




 DATED this 13th day of November, 2024


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                                                                               • Dtendqnt      .


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         Case 3:25-cv-00330-OAW                                                    Document 10                                                           Filed 03/07/25      Page 49 of 75

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       ,~- Private Seller 0
 '140 Hayes Road
       Rocky Hill, .CT 06067, Hartford County
                     , I
                                                                        g •1,247 Views                                       Q Save

                                       4 Beds I 1 Baths 1-1,811 Sq. Ft. ;




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_Price Insights
                                                                                                                       $534,000 -
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                     parable Sales.                                          Source: Co!liJt~ml AniJ{ytics :



       Renta~ Estimate 0                                                                                                          $3.000 .
       See Details .                                                         Source: ColliJtc-ral A                                                         •           ,.
                                                                                                                                                                        \
       Case 3:25-cv-00330-OAW                                           Document 10                Filed 03/07/25   Page 50 of 75




. • Rental Estimate {)                                                                        $3,000
 . See Details                                                         Savrce: Co(laterul Analytics .



 • Auction Ended                                                                        11/13/2024 •




                          ·Dnline Auction - Pending




                          For updates, save .this asset to
                                 your clasl1boarcl:                                                       ti
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.j Property Details

      Beds                                                     4


      Baths                                                    l

                  e Fout:1ge ·-- •·---1;81L -------·------·- • ··-·-. •- •-·-----                                                   - - -- --- - - -



      Lot Size {Acres}                                         0.34


      Property Type                                            Single Family__ _


      Year Built                                               1950
                 Case 3:25-cv-00330-OAW                                                                                                                                                              Document 10                                                                     Filed 03/07/25               Page 51 of 75




. JC·.; .•. :                                                                                                                                                                       ... :.: .: .. .

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j .0                                            Cash Only                                                                                                                                                                                                    Yesv
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                                                                                       Completed - Sold to 3rd Par.ty
                                                                                                                                                            8
Case 3:25-cv-00330-OAW         Document 10         Filed 03/07/25   Page 52 of 75




                                       CERTIFICATION


        I, Stephen C. McCullough, -defendant, hereby certify that .a copy of the above-entitled

 MOTION TO STRIKE and Memorandum of Law, has been sent via U.S. mail, postage pre-

 paid to all parties of record via first-class mail. Copy sent to: Houston Putnam Lowry, Ford

 & Paulekas, LLP, 280 Trumbull Street, Hartford, CT 06103 .




 DATED: this 13th day of November, 2024


                                                                               C. McCulloug ,
                                                                              Defendant




                                               4
Case 3:25-cv-00330-OAW   Document 10   Filed 03/07/25   Page 53 of 75




       EXHIBIT 8
Case 3:25-cv-00330-OAW         Document 10             Filed 03/07/25        Page 54 of 75




         HFH-CV24-6030117-S                              SUPERIOR COURT/HOUSING SESSION


      COMMERCIAL FUNDING, LLC                                       J.D. OF HARTFORD


                     V.                                                     AT HARTFORD


 MCCULLOUGH, STEPHEN CAM~BELL                                           NOVEMBER 7, 2024




                                     MOTION TO TRANSFER


         The defendant hereby moves to transfer this case from the Summary Process

                                                                 as a second action against .
 docket to the regular Housing docket. Currently, the plaintiff h_

 the defendant in HFH-CV24-6031415-S in the regular Housing docket. Connecticut

 General Statutes §47a-70(b) states:


 "If two or more actions are pending between the same parties,·including for the purposes·
 hereof any other court proceedings arising out of or connected with the same housing •
 accommodation, of which one or more of such actions is on the housing docket and one or
 more of such actions is on some other docket, thajudge handling such other docket, upon
 motion of any party to any of such actions, may order that the action pending on such
 docket,· with all papers relating thereto, be transferred.to the housing docket; and such .
 aGtion_ or actions shall thereafter _proceed as though originally entered there." •
 The basis for this motion is 1) the complexity of-the issues raised in-previous pleadings, 2)

 the constitutional issues raised, 3) the lack of a landlord/tenant or any other contractual

 relationship between the plaintiff and defendant, 4) the lack_of and dispute of proof of

 ownership by th_
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                  e pi°ain~iff as required _in Success, Inc. v. Curci? ~~u~art.~rnces~
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                   •                                  ,          • i' ~::c~ -c ;oo •
 action, 5) the extensive time requJred for a trial considering it to0!mvol~ m~(Q}e to~n
     •                                         •                        ~   ~ -ru'TJ               ::C
                                                                •       < ·-:ocn                n,.,
 officials testifying on their actions all. the way back to 2012 (se~ ~CV-~-6@?:1"8.310-S
                 .        •                              .
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                                                                                                                   .
 and HHB-GV-XX-XXXXXXX -S), 6) the ongoing result of state appelfate an~derafflictions
                                                                                                          .,Ii!:


 pertaining to a fraudulent title transfer between two persons (theidefendant and the

                                                   1
Case 3:25-cv-00330-OAW          Document 10         Filed 03/07/25       Page 55 of 75




 municipality which is judicially regarded as a "person"), and 7) the numerous counterclaims

 that will be raised based on the pleadings in HFH-CV23-6027467:-S, HHB-CV24-6084243- .

 S, and HFH-CV24-:6031415-S concerning frivolous claims, abuse of process, sham or
                                !                                    .
 duplicative pleadings, and deliberately intentional violations of the rules of professional

 conduct.


       . OR, in the alternative, lf it suits the court, to have the two cases (HFH-CV24-

 6030117-S and HFH-CV24-6031415-S) transferred to the regular docket civil session, as

 per C.G.S. §47a-70(a) which &tates:


                            a
           edings involving housing matter in the judicial district of Hartford, New Bri~ain,
 "All proce_
 New Haven, Bridgeport, Waterbury or Stamford-Norwalk shall first be placed on the
 housing docket for that district, provided the judge before whom such proceeding is brought
 may transfer such matter to the regular docket for a judicial district if.he determines that
 such matter is not a housing matter or that such docket is more suitable for the disp.osition
 of the case. Any case so entered or transferred to either docket shall be proceeded upon .
 as are other cases of like nature .standing on such docket." - .
                                                                                    /    .   .

 Southland .Corp._v. Vernon , 1 Conn App. 439, 449-50, 47-3 A2d 318, 323-24 (1984) states:


"General Statutes § 47a-70(a) provides in relevant part that any housing matter brought to
the housing docket of judicial district wtiich has a housing division may be transferred "to
the regular docket for a geographical area or judicial district if [the housing judge]
determines ... that ~uch docket is more suitable for the disposition of the case. Any case so
...-transferred ... shall be proceeded upon as are 0th.e r cases of like nature standing on
such docket:" Thus, the housing judge has the discretion, apparently exercised in this case,
to transfer to the regular civil docket of the_judicial district a summary process action which,
because .of its complexity, would formerly **324 have been outside the ambit of sumn:,ary
pr~cess.              ,..                   •                       •                 • •
   -                         -
These significan't changes persuade us that the legislature.no longer considers·sum'mary
process as necessarily excluding complex questions which would formerly have required its
dismissal. As we read the current statutory scheme, where, as here, such a summary
process action is brought in the first instance to the housing division, as it must be, and the
issue of complexity is raised, the housing division judge must exercise the court's discretion
in deciding whether to hear the case. That di~cretion i11clydes, inter alia, the degree of .
complexity of the factual and legal issues, the likely time requirements for trial, the need for
discovery and the degree of discovery which is reasonably ·required, whether complex

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      Case 3:25-cv-00330-OAW          Document 10         Filed 03/07/25   Page 56 of 75



/ .


       defenses will be raised in good faith , the"impact of hearing the case on the rest of the
       summary process docket, and Whether. other actions for similar relief are pending
       elsewhere. See Sigros v. *450 Hygenic Restaurant, Inc., supra, 38 Conn.Sup. 520, 452
       A.2d 943. The_result of this exercise of discretion will be either that the housing division
       retains the case or that it determines the regular civil docket of the judicial district to be
       more suitable for the disposition of the case, in which event the -case shall be transferred to
       that docket. General Statutes § 47a-70(a). Upon that transfer, the remedy for its complexity
       is not dismissal; the remedy is that it "shall be proceeded upon as are ·other cases of like
       nature standing on such docket." General Statutes § 47a-70(a).8 The timing and nature of
       that proceeding must, however, be left to the broad discretion of the jµdieial district court,
       and may include joinder with any other related actions pending between the parties.
       Furthermore, since by statute the case must now be "proceeded upon as are other cases of
       like nature standing on such docket," the judicial district court has the discretion to relax the
       timing of the pleadings·to conform to .that of other civil actions. If t~is renders the pace of
       the case less than summary, the landlord cannot_be heard to complain, for General
       Statutes§ 47a-70(a) has substituted such a proceeding for what would· have otherwise
       been a dismissal."                                                                         •
              Furthermore the court in Sigros v. Hygenic Rest., lnc., -38 Conn. Supp. 518,. 519,452

       A.2d 943, 944 (Super. Ct. 1982) stated: "A summary process action should be limited to

       simple issues of fact, not complicated_by questions of interpretation of leasehold covenants.

       Davidson v. Poli, 102 Conn. 692, 695, 129 A. 716 (1925); Scinto v. Bridgeport Ca~h &

       Carry, ·Inc., ·supra." Scinto v. Bridgeport Cash & Carry, Inc., _38 Conn. Supp. ·514, 5~6-17,

       452 A.2d 940, 942 (Sup.er. Ct. 1980) states:


       "The purpose of a summary process proceeding is to permit a landlord to recover
       possession upon termination of a lease without suff~ring the delay, loss and expense to
       which he may be subjected under a common-law action. Prevedini v. Mobil Oil Corporation,
       164 Conn. 287, 292, 320 A.2d 797 (1973); Atlantic Refining Co. v. O'Keefe, supra, 131
       Conn. at _530, 41 A.2d 109. Summary process is limited to a few plain, simple questions of
       fact. Davidson v. Poli, 102 Conn .. 692, 695, 129 A. 716 (1925) ... . 4 .Summary process is
       limited to cases where the issue 6f the expiration of th~ lease .presents itself as a simple
       issue of fact, not complicated by questions as to the proper legal construction of the lease.
       Rosa v. Cristina, 135 Conn. 364, 365, 64 A.2d 680 (1949). "It has always been the policy of
       our law to limit the issues in an action of summary process to a few simple ones within the
       express scope of the statutory provisions." Webb v. Ambler, supra, 125 Conn. at 550-51, 7
       A.2d 228. Because of the.summary nature of this remedy, the statute granting it has been
       narrowly construed and strictly followed. Jo-Mark Sand & Gravel Co.' v. Pantanella, 139
       Conn. 600-601, 96 A.2d 217 (1953); Cianciolo v. Plano, 23 Conn.Sup. 291, 292, 181 A.2d
       611 (1962)."
       Prevedini v. Mobil"Oil Corporation, 164 Conn. 287, 292, 320 A.2d 797 (1973) states:

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Case 3:25-cv-00330-OAW           Document 10         Filed 03/07/25   Page 57 of 75




               (

  "Here we have a stay of summary-process proceedings .. The purpose of summary process
 _proceedings as authorized bys 52-532 of the General Statutes is to permit the landlord to
  recover possession on termination of a lease; Feneck v. Nowakowski, 146 Conn. 434,.436,
  151 A.2d 891 ;" and Feneck v. Nowakowski states:·          •                              •
 "By virtue of the precise war.ding of the statute relating to_ summary process, § 52-532 of
 the 1958 Revision, that remedy is available only when there is a lease and it has been ·
 terminated."
        Further, in Logan v. Carrington Publ'g Co., 16 Conn. Supp. 46, 46 (Com. Pl. 1948):
                          .                                    .
 "The action of summary process is a special statutory proceeding and as such the
 relationship of lessor and lessee or landlord and tenant must have existed between the
 parties. The facts disclosed that the relationship of the parties was essentially that of
 employer and employee, and the occupancy by the defendant (plaintiff in error) of living
 quarters on the p~emises of t~e plaintiff employer (defendant in err9r) as part of the·
 consideration for his services as· janitor di_
                                              ~ not affect that status. The record did not support .
 judgment for possession in .an action
                                     .
                                         of
                                          '
                                            summary
                                               . .
                                                       process."
                                                           .

 .     Finally, "the purposes of the summary process action, which is designed to provide
 an expeditious remedy to a landlord seeking possession of the leased premises." Prescott
 Connecticut Appellate Practice and Procedure (2023) p. 242-243. .
     • Also see treatise:§ 61 :1. Eviction (Summary Process): Notice to quit-Commentary,
 3 Conn. Prac., Civil Practice Forms § 61 :1 (5th ed.)    •
        (b) Matters for summary process - Transfer to appropriate judicial district court
                                                           \                        :    .I   '
        The action of summary process has historically been limited to cases where the
 issue df the expiration of the lease presents itself as a simple issue of fact an9 is not
 complicated by"questions as to the proper legal construction of the lease. Sigros v. Hyqenic
 Restaurant. Irie., 38 Conn.Sup. 518, 452 A.2d 943 (1982). In Sigros, the court set fqrth
 several criteria to be used in defining this standard:
           .                         .         '\ ,
        a) the complexity of the issues raised;
        b) the length an_
                        d terms of the lease;
        c) the circumstances existing when the parties entered into the lease;
        d) likely time requirement for trial;
        e) the existence of buy and sell agreements or options to renew or buy concomitant
 with th~ lease;                                 ,.·
        f) installment payments; and
                                      .                        '

        g) the creation ~f equity property right$ in the tenant.
        However, the court in Southland Corp. v. Vernon, 1 Conn.App. 439,473 A.2d 318
 (1984), states unequivocally that given the changes in the sGope and 9omplexity of·
 summary process in light of the 1978 court merger and the broad jurisdiction of the ho.using
 court, summary process actions can no longer be confined to simple issues. Accordingly, it

                                                 4
    Case 3:25-cv-00330-OAW          Document 10          Filed 03/07/25           Page 58 of 75




     holds that a summary process case will hot be.dismissed because of its complexity. Rather,
     if the judge determines that by the criteria set forth in Sigros the action is of sufficient
     complexity, it will be tr~nsferred to the docket of the appropriate judicial district court.
     Research reference C.G.S.A. ·§ 47a-70. Housing docket. Entry and transfer of cases on
     docket.                        • .,                •

         I                                                                        .
     In addition, it should b_e factu~llly noted that the plaintiff, in more than one occasion, during

     pendency of summary process action, has filed nearly a dozen pleadings in rapid
                 .,
    ·succession in either HFH-CV24-6Q30117-S or HHB-CV-XX-XXXXXXX-S which required

     numerous discovery or c~mplex responses or objections. This does not render sufficient

     time for even the most ·proficient litigant to respond to summary process pleadings.within a

     three day time period; and in so doing violates due process. One cannot perform 80 hours
                                                                    .         I

     of needed legal research within a 72 ho~r time period; it is not difficuJt, it is impossible.


      Also, in interest of )udiciaJ economy, efficiency, and timing (in order to prevent retroactive
                                                                                               !
    ' actio·ns), the two cases involving parallel.issues should proceed on the same.timeline.



                                                                          .           .
             Henceforth, this court should grant this defendant's motion to transfer to this case to

     the regular ho_
                   using s_
                          ession,


     Or in th~ alternative, transfer this case along with HFH-CV24-:60·3 1415-s·to the regular civil

     docket.
                                                                                          . ,-



    . DATED this 7th day of November, 2024



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Case 3:25-cv-00330-OAW           Document 10        Filed 03/07/25   Page 59 of 75




                                     CERTIFICATION
                          ~,,-
        1, Stephen C. McCullough, defendant prose, hereby certffy that a copy of the above-

 entitled Motion to Transfer, has been sent via U.S. mail, postage pre_-paid to all parties· of

 record via first-class mail. Copy sent to: Houston Putnam Lowry, Ford & Paulekas LLP, 280

 Trumbull Street, Hartford, CT 06103.




 DATED: this 7th day of November, 2024




                                                6
Case 3:25-cv-00330-OAW   Document 10   Filed 03/07/25   Page 60 of 75




       EXHIBIT 9
Case 3:25-cv-00330-OAW      Document 10   Filed 03/07/25   Page 61 of 75
   Case 3:24-cv-01284-JAM Document 1-1 Filed 08/02/24 Page 14 of 69



      HHB-CV24-6084243-S             SUPERIOR COURT

      TOWN OF ROCKY HILL,            JUDICIAL DISTRICT OF NEW BRITAIN
      ET AL

      v.                             AT NEW BRITAIN, CONNECTICUT

      STEPHEN CAMPBELL               MAY 13, 2024
      MCCULLOUGH, ET AL


                             TRANSCRIPT OF PROCEEDINGS



                    BEFORE THE HONORABLE ROBERT YOUNG, JUDGE



      A P P E A R A N C E S


           Representing the Plaintiffs:

               ATTORNEY ADAM COHEN
               Pullman & Comley LLC
               850 Main Street
               Bridgeport, Connecticut 06601

               ATTORNEY HOUSTON PUTNAM LOWRY
               Ford & Paulekas, LLP
               280 Trumbull Street
               Hartford, Connecticut 06103


           Representing the Defendants:

               STEPHEN CAMPBELL MCCULLOUGH
               Self-represented party




                                          Recorded By:
                                          Sarah Grover

                                          Transcribed By:
                                          Erin Baxter
                                          Court Re c ording Monitor Trainee
                                          120 School Street
                                          Danielson, Connecticut 06239
Case 3:25-cv-00330-OAW      Document 10      Filed 03/07/25   Page 62 of 75
    Case 3:24-cv-01284-JAM Document 1-1 Filed 08/02/24 Page 15 of 69

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   1                   THE COURT:     This is Docket No. CV24-6084243,

   2           Town of Rocky Hill v. Stephen Campbell McCullough, Et

   3           al, and it is an intervener's motion for

   4           interlocutory judgment of interpleader that is on the

   5           docket.     That is 107.     There's been an objection

   6           filed at 110 and a reply at 111.          I'm going to ask

   7           everyone to introduce themselves for the record,

   8           please, starting with Attorney Lowry.

   9                   ATTY. LOWRY:     Morning, Your Honor.     Houston

  10           Putnam Lowry, counsel for the intervener, Commercial

  11           Funding, LLC.

  12                   ATTY. COHEN:     Adam Cohen for the Town of Rocky

  13           Hill.

  14                   THE COURT:     All right.    Mr. Cohen, is your dog

  15           in this show?

  16                   ATTY. COHEN:     Not much.    I just wanted to note

  17           that there's -- I don't have any -- I don't take any

  18           position on the substance of the motion.           The case is

  19           stayed otherwise, so I'm just trying to keep activity

  20           in the case limited so that the attorney's fees stay

  21           reasonable.

  22                   THE COURT:     Understood.    Glad that you're here,

  23           Sir?

  24                   MR. MCCULLOUGH:     Stephen C. McCullough.

  25                   THE COURT:     All right.    Mr. McCullough, good

  26           morning.     All right.     Attorney Lowry, I've read this

  27           motion, and I understand that Judge Shortall has
Case 3:25-cv-00330-OAW       Document 10      Filed 03/07/25     Page 63 of 75
       Case 3:24-cv-01284~JAM Document 1-1 Filed 08/02/24 Page 16 of 69


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   1              allowed you to intervene in this action, but I'm not

   2              seeing where you have standing, sir.           So, tell me how

   3              it is that you have standing.       Before we get there --

   4              and I guess I'll ask Attorney Cohen to let me know.

   5              I presume that there was a foreclosure action?

   6                   ATTY. COHEN:     There was a non-judicial tax sale.

   7              It's a statutory foreclosure proceeding .

   8                   THE COURT:     Okay.   And Commercial Funding, Inc.

   9              [sic], was it a party to that action?

  10                   ATTY. COHEN:     It was the purchaser at the

  11              auction.

  12                   THE COURT:     Understood.    But to the action

  13              itself, was it a party?

  14                   ATTY. COHEN:     There was no judicial action to be

  15             a party to.

  16                   THE COURT:     Okay.   All right.       So, Attorney

  17             Lowry, where do you get standing here?

  18                   ATTY. LOWRY:     Well, I'm not sure that I

  19             understand what you mean by standing, Your Honor.

  20             Obviously, we have been allowed to intervene, so we

  21             c ertainly have a claim.      Are you inquiring about our

  22             damages?

  23                   THE COURT:     Well, let me ask you about that.

  24             You've been allowed to intervene by Judge Shortall.

  25                   ATTY. LOWRY:     Yes, sir.

  26                   THE COURT:     But that doesn't mean that you have

  27             a claim and it doesn't mean that you have standing.
Case 3:25-cv-00330-OAW     Document 10      Filed 03/07/25    Page 64 of 75
   Case 3:24-cv-01284-JAM Document 1-1 Filed 08/02/24 Page 17 of 69


                                                                              3


   1          So, you're looking for some relief from this court,

   2          and I need to know how it is that you get to be in

   3          this action.

   4               ATTY. LOWRY:     Okay.     The action's a little

   5          unusual in the sense it's a statutory action, and

   6          we've made claims several different ways, one of

   7          which is a motion to disburse under the relevant

   8          statute, which is not on for today.            It seemed as

   9          though the motion for an interlocutory judgment of

  10          interpleader was the more appropriate way to go.

  11               Just to let you know, we also have a hearing

  12          brief which refers you to the action in the nature of

  13          an interpleader, which is 52-484.          That's also in the

  14          record.     The nature of the injury was that the

  15          McCulloughs, one being the estate and one being the

  16          person that exists, are continuing to occupy the

  17          premises that our client, Commercial Funding, LLC, is

  18          the owner of.

  19               THE COURT:     But you only obtained this propert y

  20          upon an auction; correct?

  21               ATTY. LOWRY:     Correct.

  22               THE COURT:     And you had no prior claim to this

  23          property prior to being the winning bidder of the

  24          auction; correct?

  25               ATTY. LOWRY:    Correct.

  26               THE COURT:     So, now you've obtained this

  27          property.    There are extra proceeds which the Town of
Case 3:25-cv-00330-OAW          Document 10    Filed 03/07/25    Page 65 of 75
       Case 3:24-cv-01284-JAM    Document 1-1 Filed 08/02/24 Page 18 of 69


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   1              Rocky Hill is seeking.

   2                     ATTY. LOWRY:     Correct, and we recognize we're

   3              junior to them.

   4                     THE COURT:     But you want these funds from Mr.

   5             McCullough because he's still encamped on the

   6              property?

   7                     ATTY. LOWRY:     Correct.

   8                     THE COURT:     So, why isn't this in housing court?

   9                     ATTY. LOWRY:     Well, the short answer is there's

  10             an eviction in the housing court.           That would be a

  11             venue issue.      That would not be a jurisdiction issue.

  12                     THE COURT:     You have another action against Mr.

  13             McCullough pending at this time?

  14                     ATTY. LOWRY:     The client does.      They have a

  15             summary process action.

  16                     THE COURT:     Does it include use and occupancy?

  17                     ATTY. LOWRY:     Summary process actions do --

  18             there's no use and occupancy order.            Summary process

  19             actions do not make a determination as to the amount

  20             of damages.

  21                     THE COURT:     I understand.   It's for possession

  22             only.

  23                     ATTY. LOWRY:    Correct.

  24                     THE COURT:     I've sat in housing court, Mr.

  25             Lowry.

  26                     ATTY. LOWRY:    Thank you, sir.

  27                     THE COURT:     I'm questioning whether you have an
Case 3:25-cv-00330-OAW    Document 10      Filed 03/07/25   Page 66 of 75
    Case 3:24-cv-01284-JAM Document 1-1 Filed 08/02/24 Page 19 of 69

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   1           additional action for use and occupancy in housing

   2           court.

   3                ATTY. LOWRY:     We do not have an action for

   4           damages.   Correct, Your Honor.

   5                THE COURT:     Okay.   So, I'm still not seeing

   6           where you have standing here in this action.

   7                ATTY. LOWRY:     Well, normally, what we would do

   8           is we would apply for a prejudgment remedy.         We

   9           cannot seek a prejudgment remedy unless we can

  10           garnish the funds.     The funds are in the hands of the

  11           state, which is protected from garnishment by the

  12           sovereign immunity.     So therefore, what we're doing

  13           is we're in a position that we would normally be in

  14           if a prejudgment remedy had been allowed and that the

  15           funds are currently held by the state.         So, they

  16           would be held by the Superior Court.         They are

  17           currently already being held by the Superior Court,

  18           and we are claiming an interest in the funds as a

  19           creditor of the McCulloughs.

  20                THE COURT:     You're using interpleader as a

  21          device to collect use and occupancy and attorney's

  22           fees; correct?

  23                ATTY. LOWRY:     Correct, Your Honor.      I don't

  24          believe we asked for attorney's fees, but correct.

  25                THE COURT:     Well, didn't you?

  26                ATTY. LOWRY:     I don't remember offhand, sir.

  27                THE COURT:     Okay.   But at least as far as
Case 3:25-cv-00330-OAW      Document 10      Filed 03/07/25     Page 67 of 75
   Case 3:24-cv-01284-JAM    Document 1-1 Filed 08/02/24 .Page 20 of 69


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   1          collecting use and occupancy, you're using

   2          interpleader in order to obtain damages; correct?

   3                ATTY. LOWRY:     Correct, because we have no other

   4          basis for relief because of the sovereign immunity of

   5          the State of Connecticut, which is where the money

   6          is.   Mr. McCullough's otherwise insolvent.                I make

   7          that representation in that he has applied for and

   8          apparently received a waiver for entry fee and costs.

   9          I'm not allowed to see that, so all I can say is that

  10          he applied for waiver of entry fee and for service

  11          fees, which was granted.            I assume he did that based

  12          upon a showing that he is insolvent.

  13                THE COURT:     Okay.     So, the obligations which

  14          your client is claiming that Mr. McCullough owes it

  15          did not arise until after the auction; correct?

  16                ATTY. LOWRY:     Correct.

  17                THE COURT:     All right.       Anything else you want

  18          to tell me, sir?

  19                ATTY. LOWRY:     No, Your Honor.          We would stand on

  20          our brief and the reply and the original motion.

  21          Thank you, Your Honor.

  22                THE COURT:     All right.       Thank you.     Mr.

  23          McCullough, do you want to be heard?

  24                MR. MCCULLOUGH:        Yes.     I'd like to address the

  25          Court.     They have a summary process action right now

  26          in Hartford housing court.           They filed for a motion

  27          for use and occupancy payments, and then they later
Case 3:25-cv-00330-OAW    Document 10       Filed 03/07/25    Page 68 of 75
   Case 3:24-cv-01284-JAM Document 1-1 Filed 08/02/24 - Page 21 of 69


                                                                                 7


   1          withdrew it.

   2                THE COURT:    Okay.

   3                MR. MCCULLOUGH:       And I'd also just like the

   4          Court to know that that motion for use and occupancy,

   5          Statute 47-26b, when it is activated, it states about

   6          use and occupancy in amount equal to the last agreed

   7          upon rent or, in absence of prior agreed upon rent,

   8          an amount equal to fair rental value of the premises

   9          during the pendency of such action accruing from the

  10          date of such order.

  11                Now, what Commercial Funding is' trying to do is

  12          it's trying to get use and occupancy payments for

  13          something that occurred after the tax deed was

  14          recorded on October 20th.           They have no     so, this

  15          fund was generated back in April.           They have no

  16          interest or claim to anything that happened in April

  17          or even all the way up -- they don't have any basis

  18          for anything up until October 20th.            Second of all,

  19          I'm not consenting that they own the property.              I am

  20          still appealing the matter and going to a higher

  21          court on this.     They do not have quiet title.           I will

  22          be addressing this in future pleadings.

  23                THE COURT:    I don't mean to interrupt.         Is it at

  24          the appellate court right now?

  25                MR. MCCULLOUGH:       What?

  26                THE COURT:    Is your -- the auction, is that at

  27          the appellate court right now?          You said you were
Case 3:25-cv-00330-OAW        Document 10    Filed 03/07/25     Page 69 of 75
   Case 3:24-cv-01284-JAM Document 1-1 Filed 08/02/24 Page 22 of 69


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   1          appealing it.

   2                 MR. MCCULLOUGH:        Well, I have an appeal deadline

   3          tomorrow.

   4                 THE COURT:     I'm sorry?

   5                 MR. MCCULLOUGH:        I have an appeal deadline

   6          tomorrow on the

   7                 THE COURT:     So, it actually has not been filed

   8          yet?

   9                 MR. MCCULLOUGH:        Correct, on 5033551.       And I'm

  10          intending to file a federal action too.               The second

  11          thing is, for a motion for interpleader -- and I

  12          addressed this in my brief -- the Town of Rocky Hill,

  13          who is a stakeholder, still has a claim going on for

  14          that, approximately $70,000.          They're continuing to

  15          claim attorney's fees as long as I keep appealing the

  16          matter.     It's very likely the entire $70,000 will be

  17          gone by the time I reach the U.S. Supreme Court on

  18          this, because this was a house that was built by my

  19          father and my mother back in 1949.              It has · been

  20          entirely within the McCullough family.              It has never

  21          been rented,                                            :unEi JJ fne

  22                  Elie.

  23                 And condition three of the elements of motion of

  24          interpleader: the plaintiff, which in this case is

  25          the Town of Rocky Hill, must not have or claim any

  26          interest in the subject matter, and they are claiming

  27          interest in the subject matter because they're asking
 Case 3:25-cv-00330-OAW          Document 10     Filed 03/07/25   Page 70 of 75
           Case 3:24-cv-01284-JAM Document 1-1 Filed 08/02/24 Page 23 of 69


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       1              for attorney's fees all the way on through.          And
'-
       2             Commercial Funding has no basis for attaching this

       3              fund which occurred before, judging -- going by what

       4              they say on their claim that they -- when they --

       5              from October 20th on.     In fact,   they're claiming use

       6             and occupancy for five months later.

      7                    Not only are they -- not only that, but they're

      8              claiming this is in equity.      Well, the amount that

      9              they're claiming for five months exceeds the building

     10              value of the property.      They're claiming -- I

     11              attached the last property card I had.         It's

     12              published in 2022.     They're claiming in five months

     13              more than the value of the building, because the

     14              building got in a windstorm, the roof fell over, it

     15              leaks on every rainstorm.      There's numerous problems

     16              with it.    It's not statutorily allowed to be rented,

     J.7             and yet they were claiming, you know,        47a-26 for use

     18              and occupancy.

     19                    I deny any -- and I did not make any agreement

     20              with Commercial Funding that I agreed to pay any use

     21              and occupancy payments.      There is no contract,

     22              express or implied.      There was no communication from

     23              Commercial Funding at all before any legal action.

     24              They just dumped a notice to quit on my door.          And by

     25              the way, they dumped that notice before they had the

     26              recorded deed, and that's why currently right now in

     27              summary housing court, there is a pending motion to
Case 3:25-cv-00330-OAW         Document 10         Filed 03/07/25    Page 71 of 75
       Case 3:24-cv-01284-JAM Document 1-1 Filed 08/02/24 Page 24 of 69

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   1              dismiss with a hearing on the 23rd.

   2                      THE COURT:     Okay.     So, the housing matter's

   3              still pending?

   4                      MR. MCCULLOUGH:        Correct.

   5                      THE COURT:     Okay.     And that's in Hartford?

   6                      MR. MCCULLOUGH:        Yes.   That's where they filed

   7              it.     I didn't file it.

   8                      THE COURT:     Okay.     Anything else, Mr.

   9              McCullough?

  10                      MR. MCCULLOUGH:        I'll just say I don't think

  11              they have -- I'm claiming they don't have standing,

  12              they don't have subject matter jurisdiction to file

  13             an interpleader.         If you rule in their favor, it will

  14             be a landmark case, because you don't use -- because

  15              they don't have any liens on the property.               Normally,

  16              interpleader is if I had liens or creditors.               I

  17             didn't have any liens or creditors.                The only thing

  18             on there was Rocky Hill taxes, and that I'm still

  19             disputing, but anyways, that's be$ides the point.

  20                      THE COURT:     All right.     Attorney Lowry, last

  21             word?

  22                      ATTY. LOWRY:     Brief responses, Your Honor.          The

  23             interpleader statute does not prevent the stakeholder

  24                    which is the word he used -- from having a claim

  25             to the interpleader action.            It's in the nature of a

  26             writ of interpleader.           It's not a classical

  27             interpleader, so that's clear.             The stakeholder, by
Case 3:25-cv-00330-OAW          Document 10    Filed 03/07/25    Page 72 of 75
       Case 3:24-cv-01284-JAM    Document 1-1 Filed 08/02/24 Page 25 of 69


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   1              the way, is not the Town of Rocky Hill at the moment

   2             because they don't have the money.             The Superior

   3             Court has the money.

   4                   He cited to Marks v. Chapel, which is 5 Conn.

   5             Sup. 441.      He didn't put down the 5, so it might be a

   6             little hard to find.         And it said at the end if they

   7             have some claim against the defendant, let them

   8             garnishee the money in the hands of the plaintiffs.

   9             That is their remedy.         You can't because the State of

  10             Connecticut has the funds.

  11                   Let's talk about the equitable maxims: that you

  12             need to come to the Court with clean hands.            With all

  13             due respect, I don't think he comes to the Court with

  14             clean hands.      Two: equity doesn't require someone to

  15             do a useless act.       I'm required to issue a

  16             garnishment under 52-278 against the State of

  17             Connecticut.      It doesn't make any sense.        Three:

  18             equity does not waht to multiply proceedings.

  19                   So, we've got two proceedings.           There's no prior

  20             pending action problem because of the nature of the

  21             sco:de of a summary process action, but there is

  22             something called a writ of peace, which I've never

  23             seen issued by a Connecticut court, which basically

  24             is an injunction saying that you won't proceed

  25             further.    Well, if we started a multiplicity . of

  26             actions, that would be a problem.

  27                   The opportunity here is to resolve this all in
Case 3:25-cv-00330-OAW         Document 10   Filed 03/07/25     Page 73 of 75
       Case 3:24-cv-01284-JAM Document 1-1 Filed 08/02/24 Page 26 of 69


                                                                                    12


   1              one place.    We are a creditor.       Were we a creditor

   2              attached on the land?      No.     Completely conceded.          But

   ·3             we are a creditor, and this is the only source of

   4              funds that will be available against this particular

   5              person, so we believe that we should be entitled,

   6              under the general policy,        to secure that claim for

   7              funds.   That's what we're trying to do with this

   8              judgment of interpleader.

   9                   We also have a motion for payment, which we

  10              haven't pursued because of the stay.          We understand

  11              that he's said he's going to appeal this all the way

  12             up and there may be no funds left.           Fine .     That is

  13             his prerogative to do what he wants to do.               We are

  14             not disputing the Town of Rocky Hill's priority.                  But

  15             we are saying we want to secure ourselves.

  16                   So, that being said, we believe this is in the

  17             natu r e of an interpleader and it has all the

  18             hallmarks.     The Court already has the funds and we've

  19             submitted our statement, and when the Court gets

  20             around to hearing it, which will be after the stay is

  21             lifted, then the Court will determine who is entitled

  22             and who has a claim and how much it is.               So, at that

  23             point, I believe that the judgment of interlocutory

  24             interpleader should be granted.

  25                   THE COURT:    All right.      Thank you, everyone, for

  26             your input.     I will take this matter under

  27             consideration.     It's going to require a great deal of
Case 3:25-cv-00330-OAW   Document 10    Filed 03/07/25   Page 74 of 75
   Case 3:24-cv-01284-JAM Document 1-1 Filed 08/02/24 Page 27 of 69

                                                                         13


   1          thought before I issue a decision, so don't expect it

   2          to come out imminently.     But I thank you for your

   3          participation.    If there's nothing further,    the Court

   4          will stand in recess.

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Case 3:25-cv-00330-OAW       Document 10   Filed 03/07/25   Page 75 of 75
    Case 3:24-cv-01284-JAM    Document 1-1 Filed 08/02/24 Page 28 of 69



       HHB-CV24-6084243-S             SUPERIOR COURT

       TOWN OF ROCKY HILL,            JUDICIAL DISTRICT OF NEW BRITAIN
       ET AL

       v.                             AT NEW BRITAIN, CONNECTICUT

       STEPHEN CAMPBELL               MAY 13, 2024
       MCCULLOUGH, ET AL




                              C E R T I F I C A T I O N




               I hereby certify the foregoing pages are a true and

       correct transcription of the audio recording of the above-

       referenced case, heard in Superior Court, Judicial District of

       New Britain, New Britain, Connecticut, before the Honorable

       Robert Young, Judge, on the 13th day of May, 2 024.




              Dated this 24th day of May, 2024 in Danielson,

      Connecticut.




                                           Erin Baxter
                                           Court Recording Monitor Trainee
